Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 1 of 35

 

Exhibit B

 

 
Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 2 of 35

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Bye 3
*CUSTOMERS WILL RECEIVE SEPARATE NOTICE WITH CURE AMOUNT
*EMPLOYEES WILL RECEIVE SEPARATE NOTICE WITH CURE AMOUNT
1 7062001 CANADA LTD. AND/OR 5568529 MANITOBA | 1180 FIFE STREET LOGISTICS TRUCKLOAD TRANSPORT 1/30/2010 $0.00
LTD. (DBA WINNIPEG MOTOR EXPRESS) WINNIPEG, MB R2X 2N6 AGREEMENT ‘
650 WESTTOWN ROAD
2 A. DUIE PYLE, INC. FAX: 610-350-0410; EMAIL: CONTRACTS@ADUIEPYLE.COM | LOGISTICS LTL CONTRACT 7/14/2021 $36,664.58
WEST CHESTER, PA 19381
4873 PENNS VALLEY ROAD
3 AM, LOGGING, LLC SPRING MILLS. PA tere SUPPLY AGREEMENT 4/27/2015 $43,228.98
1751 KINSEY ROAD
4 AAA COOPER TRANSPORTATION DOTHAN, Al 38300 LOGISTICS PRICING AGREEMENT $12,988.63
2360 W. DOROTHY LANE
5 ABM JANITORIAL SERVICES SUITE 208 JANITORIAL SERVICES AGREEMENT 1/12/2016 $12,083.61
DAYTON, OH 45439
153 AIKENS ROAD
6 ACCURATE LOGGING CREEKSIDE, PA 15732 SUPPLY AGREEMENT 3/30/2015 $4,180.66
6980 NORTH PORT WASHINGTON ROAD
7 ADELMAN TRAVEL SYSTEMS, INC. D/B/A ADELMAN PHONE: 414-352-7600; EMAIL: SERVICES AGREEMENT FOR TRAVEL 9/30/2020 $0.00
TRAVEL GROUP ADELMAN @ADELMANTRAVEL.COM SERVICES .
MILWAUKEE, WI 53217
616 CORPORATE WAY
8 ADVANCED SOFTWARE CONCEPTS (US), INC. SUITE 2-3284 SERVICES Ae eON AND 12/31/2020 $0.00
VALLEY COTTAGE, NY 10989
1600 VALLEY VIEW BLVD
9 ADVANTAGE RESOURCE GROUP ALTOONA, PA 16602 RECRUITING SERVICES $0.00
TO BE
7201 HAMILTON BOULEVARD RESOLVED
10 AIR PRODUCTS AND CHEMICALS, INC. ALLENTOWN, PA Ib19S-te01 SUPPLY AGREEMENT 6/30/2007 PRIOR TO
CLOSING
TO BE
7201 HAMILTON BOULEVARD RESOLVED
11 AIR PRODUCTS AND CHEMICALS, INC. ALLENTOWN, PA ibibo iene SUPPLY AGREEMENT 7/31/2004 Seon TO
CLOSING
; 25736 W, LAKEVIEW AVE.
12 AJL- ANNE JOYCE, INC. WAUCONDA, It 60084 RECRUITING SERVICES $0.00
1 INDEPENDENCE WAY
13 ALK TECHNOLOGIES, INC. SUITE 400 SeRvicrs CONNrenN? SUPPORT 5/21/2018 $0.00
PRINCETON, NJ 08540
1134 SOUTH 12TH STREET LOGISTICS TRUCKLOAD TRANSPORT
14 ALL FREIGHT SYSTEMS, INC. KANSAS CITY Ke Senos peetabie 5/17/2012 $0.00
670 ALLEN ROAD
15 ALLEN DISTRIBUTION EMAIL; RHEISMAN@ALLENDISTRIBUTION.COM TERE SPACE AND SERVICES 9/30/2019 $0.00
CARLISLE, PA 17015

 

Page 1 of 34

 

 
Case 17-12082-MFW_ Doc 751-2

COUNTERPARTY NAME

COUNTERPARTY ADDRESS

716 SOUTH MILK AND WATER ROAD

CONTRACT DESCRIPTION

Filed 05/14/18 Page 3 of 35

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3/30/2015

 

$0.00

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

16 ALLEN. L. BARKMAN LOGGING EVERETT, PA 15537 SUPPLY AGREEMENT
6652 OLIVE BRANCH ROAD

17 ALLIED EXPRESS OREGONIA, OH 45054 FREIGHT $0.00
2146 WEST PERSHING ST
ATTN: MATT SAGORAC

18 ALL-LIFT SERVICES, INC FAX: 920-738-0887; EMAIL: MSAGORAC@ALL- SERVICE AGREEMENTS 2/28/2019 $25,075.21
LIFTSYSTEMS.COM
APPLETON, WI 54914
PAYMENT PROCESSING CENTER RETAIL INSTALLMENT CONTRACT VIN TO BE RESOLVED

19 ALLY PO BOX 78234 1GC2KUEG6G7395906 3/2/2022 PRIOR TO
PHOENIX, AZ 85062-8234 CLOSING
8276 SPINNAKER BAY DRIVE

20 AMERICAN GREEN CONSULTING GROUP, LLC WINDSOR, CO 80528 FSC SUPPORT SERVICES 4/5/2017 $0.00
641 HORSE TRACK ROAD

21 ANDREW MILLER BERLIN, PA 15530 SUPPLY AGREEMENT 3/30/2015 $0.00
200 E. RANDOLPH STREET

22 AON PREMIUM FINANCE, LLC PHONE: 312-381-4628 INSURANCE CONTRACTS 6/30/2018 $1,375.00
CHICAGO, IL 60601

ASSET TRANSFER AGREEMENT

569 CARTER COURT (LANDLORD'S CONSENT TO

23° APPLETON COATED LLC KIMBERLY, WI 54136 ASSIGNMENT OF LEASE UNDER ASSET $0.00

TRANSFER AGREEMENT)

540 PROSPECT ST

24 APPLETON COATED LLC COMBINED LOCKS, WI 54113 INDEMNIFICATION AGREEMENTS $0.00
569 CARTER COURT

25 APPLETON COATED LLC KIMBERLY, WI 54136 ASSET TRANSFER AGREEMENT $0.00
540 PROSPECT ST

26 APPLETON COATED LLC COMBINED LOCKS, WI 54113 INDEMNIFICATION AGREEMENTS $0.00
569 CARTER COURT

27 APPLETON COATED LLC KIMBERLY, WI 54136 TRADEMARK LICENSING AGREEMENT $0.00
569 CARTER COURT

28 APPLETON COATED LLC KIMBERLY, WI 54136 TECHNOLOGY LICENSING AGREEMENT $0.00.
540 PROSPECT STREET

29 APPLETON COATED LLC COMBINED LOCKS, WI 54136 SUPPLY AGREEMENT 12/31/2012 $0.00
569 CARTER COURT

30.. APPLETON COATED PAPERS HOLDINGS INC. KIMBERLY, WI 54136 TECHNOLOGY LICENSING AGREEMENT $0.00

31 APPLETON PAPERS CANADA LTD. 550 BRAIDWOOD AVENUE TRADEMARK LICENSING AGREEMENT $0.00

 

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Page 2 of 34

 

 

 
  

Case 17-12082-MFW_ Doc 751-2

Filed 05/14/18 Page 4 of 35

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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COUNTERPARTY NAME orl UT his: ty Cama Ve 01,1 CONTRACT DESCRIPTION ae Pris

2606 SEIFERTH ROAD

32 APPLIED INDUSTRIAL TECHNOLOGIES, INC. EMAIL: KMMILLER@APPLIED.COM SUPPLY AGREEMENT 4/13/2017 $373,825.55
MADISON, WI 53716
1100 ABERNATHY ROAD

33 ARGENT TRUST COMPANY coneeso RK KSOP SERVICES AGREEMENT $17,683.32
ATLANTA, GA 30328
RENCE NN USE COLLATERAL ASSIGNMENT AGREEMENT

34 RIO WIGGINS APPLETON (BERMUDA) LIMITED \ RELATED TO ENVIRONMENTAL $0.00
FAX: XXX-XX-XXXX-796075 veantlary
BASINGSTOKE; HAMPSHIRE RG21
ST. CLEMENT HOUSE

35 ARIO WIGGINS APPLETON HOLDINGS LIMITED ALENCON LLINK TRADEMARK LICENSING AGREEMENT $0.00
BASINGSTOKE, HAMPSHIRE RG21 7SB
ST. CLEMENT HOUSE
ALENCON LINK

36° ARJO WIGGINS APPLETON P.L.C. FAX 011-4 196-796075 FINANCE $0.00
BASINGSTOKE, HAMPSHIRE RG21
ST. CLEMENT HOUSE
ALENCON LINK SECURITY AGREEMENT RELATED TO

37 ARJO WIGGINS APPLETON P.L.C. FAX: XXX-XX-XXXX-796075 ENVIRONMENTAL LIABILITY $0.00
BASINGSTOKE, HAMPSHIRE RG21
ST. CLEMENT HOUSE
ALENCON LINK

38 ARJO WIGGINS APPLETON P.L.C. FAX, 011-44. 1256-79675 INDEMNIFICATION AGREEMENTS $0.00
BASINGSTOKE, HAMPSHIRE RG21
ST. CLEMENT HOUSE

39 ARJO WIGGINS NORTH AMERICA INVESTMENTS LTp, | ALENCON LINK ASSET ACQUISITION AGREEMENT $0.00

* | FAX: XXX-XX-XXXX-796075 .

BASINGSTOKE, HAMPSHIRE RG21
4410 INDUSTRIAL PARK ROAD LOGISTICS TRUCKLOAD TRANSPORT

40 ARNOLD TRANSPORTATION SERVICES CAMPHILL PRavors nOneEMent 7/1/2003 $0.00
PO BOX 5019

41 AT&T CAROL STREAM, IL 60197-5019 INFORMATION TECHNOLOGY $3,105.46
PO BOX 5080

42 AT&T CAROL STREAM, TL 60197-5080 INFORMATION TECHNOLOGY $5,228.97
PO BOX 5011

43° ATaT CAROL STREAM, IL 60197-5011 INFORMATION TECHNOLOGY $69.12
PO BOX 5019 TELECOMMUNICATIONS EQUIPMENT

44 ATaT CAROL STREAM, IL 60197-5019 AND SERVICES CONTRACT $0.00
50 CARDINAL DRIVE

45 ATLANTIC CONTAINER LINE ROBERT MCGEE, PRICING ANALYST FREIGHT 1/31/2018 $0.00
WESTFIELD, NJ 07090, NJ 07090
1850 ENTERPRISE DRIVE INFORMATION’ MANAGEMENT SERVICES

46 AUTOMATED RECORDS MANAGEMENT SYSTEMS, INC. | [ESD ENTERPRISE [ RC 3/28/2020 $321.37
10260 SW GREENBURG ROAD

47 AXIOM GROUP, LLC (DBA AXIOM EPM) SUITE 710 PORES MERE CENSE AND SUPPORT $0.00
PORTLAND, OR 97223

 

 

Page 3 of 34

 
Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 5 of 35

COUNTERPARTY NAME

COUNTERPARTY ADDRESS

9590 LOONEY ROAD

 

CONTRACT DESCRIPTION

LOGISTICS TRUCKLOAD TRANSPORT

 

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AMOUNT

 

$0.00

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

48 8 D-TRANSPORTATION INC. PIQUA, ON 45356 AORERMENT 11/29/2013
5272 COLD SPRINGS ROAD

49  B&S LOGGING, LLC HUNTINGDON, PA 1ees2 SUPPLY AGREEMENT 3/30/2015 $0.00
WESTMINSTER HOUSE

50 B.A.T INDUSTRIES LIMITED 7 MILLBANK ASSET ACQUISITION AGREEMENT $0.00
LONDON, SW1P 3JE.UK
425 LEXINGTON AVENUE

51 B.A.T INDUSTRIES P.L.C. PHONE: 212-455-3595; FAX: 212-455-2502 COTO RCN CEN RECARDING $0.00
NEW YORK, NY 10017

SETTLEMENT AGREEMENT REGARDING

425 LEXINGTON AVENUE ENVIRONMENTAL LIABLITY -

52 B.A-TINDUSTRIES P.L.C. NEW YORK, NY 10017-3954 SUBSEQUENT ALLOCATION $0.00

ARBITRATION

GLOBE HOUSE
4 TEMPLE PLACE FUNDING AGREEMENT REGARDING

53 B.A.T INDUSTRIES, P.L.C. PHONE: 44-0-20-7845-1511 ENVIRONMENTAL LIABILITY $0.00
LONDON, ENGLAND WC2R 2PG
2701 S. OAKWOOD ROAD
PO BOX 3083

54 BADGER FEDERAL SERVICES, INC. FAX: 920-426-6404; EMAIL: AORERMENT. RUCKLOAD TRANSPORT 1/21/2019 $79,030.80
SMDOUGHERTY.NOE@BADGERFEDERAL.COM
OSHKOSH, WI 54903-3083
4424 THURMAN ROAD

55 BAH EXPRESS INC. FAX: 404-608-0555; EMAIL: MIKE@BAHEXPRESS.COM FORCE ENT UO REOAD TRANSPORT 2/14/2021 $0.00
CONLEY, GA 30288
8851 CHANEYSVILLE ROAD

56 BARRY PRICE LOGGING CLEARVILLE, PA 15535 SUPPLY AGREEMENT 3/30/2015 $0.00
11501 STEELE CREEK RD

57 BASF CORPORATION CHARLOTTE, NC 28273 VENDOR AGREEMENTS 12/31/2018 $312,924.84
3686 140TH ST EAST

58 BAY & BAY TRANSFER CO. PO BOX 510 FO OEEMER TR UCKHOAD TRANSPORT 3/19/2010 $0.00
ROSEMOUNT, MN'S5068
W2233 KELLER ROAD LOGISTICS TRUCKLOAD TRANSPORT

59 BEACH ENTERPRISES, INC. FOREST JUNCTION, WI 54123 AORELMENT 3/19/2010 $0.00
1395 SOUTH MARIETTA PARKWAY

60 BEKAERT CORPORATION eure pon SERVICE AGREEMENT 11/1/2018 $3,784.95
MARIETTA, GA 30067
1045 S RIVER INDUSTRIAL BLVD

61 BENTON ATLANTA, GA30315 LOGISTICS PRICING AGREEMENT $0.00
9477 FRONT MOUNTAIN ROAD

62 _ BIG VALLEY HARDWOODS ALLENEVILLE. PA 17002 SUPPLY AGREEMENT 3/30/2015 $1,096.80
871 ALVERDA ROAD

63  BINGAMAN & SON LUMBER, INC. (DBA WBL PO BOX 66 SUPPLY AGREEMENT 1/6/2017 $0.00

HARDWOODS)

 

NICKTOWN, PA 15762

 

 

 

 

Page 4 of 34

 

 

 
 

 

Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 6 of 35

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COUNTERPARTY ADDRESS

1001 SHERWIN ROAD

CONTRACT DESCRIPTION

LOGISTICS TRUCKLOAD TRANSPORT

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64 BISON TRANSPORT WINNIPEG, MANITOBA R3H OTS AGREEMENT a/1d/2011 $0.00
3001 BISHOP DRIVE

65 BLACKBERRY CORPORATION SUITE 400 AND SURO conan oueM ENT 9/30/2019 $35,810.00
SAN RAMON, CA 94853

BLUE CROSS BLUE SHEILD DBA ANTHEM BLUE CROSS | 6740 NORTH HIGH STREET

86 - BLUE SHIELD ASA WORTHINGTON, OH 43085 BENEFITS CONTRACTS $0.00
156 INDUSTRIAL BLVD.

67 BLUE TRIANGLE HARDWOODS, LLC EVERETD, PA 1a537 SUPPLY AGREEMENT 3/30/2015 $13,288.58
GAM ACCTG DEPT
LOCKBOX 010616 SERVICES AGREEMENT FOR

68" BMO HARRIS BANK N.A. BIN 88616 ADMINISTERING FSA ACCOUNTS 12/31/2014 $0.00
MILWAUKEE, WI 53288-0616
387 SUNKEN LANE VALLEY ROAD

69 BOYER LOGGING, INC. RURAL VALLEY, PA Letbo SUPPLY AGREEMENT 3/30/2015 $0.00
8300 TYRONE PIKE

70 BRIAN GALLAHER IRVONA PA 1eaee SUPPLY AGREEMENT 11/27/2016 $0.00
20188 LITTLE VALLEY ROAD

71 BRODE LUMBER INC. SAXTON, PA 1eera SUPPLY AGREEMENT 3/30/2015 $5,908.06
12973 SAWMILE ROAD

72 BROOKSIDE LUMBER ALLENSVILLE, PA Ly02 SUPPLY AGREEMENT 3/30/2015 $5,412.49
6908 CHAPMAN ROAD LOGISTICS TRUCKLOAD TRANSPORT

73 BROWN TRUCKING COMPANY LITHONIA a SG0e8 ACREEMENY 10/9/2009 $0.00
2652 HAZEN RICHARDSVILLE ROAD

74  BROWNLEE LUMBER COMPANY BROOKVILLE. PA Leos SUPPLY AGREEMENT 3/31/2016 $0.00
2652 HAZEN RICHARDSVILLE ROAD

75 BROWNLEE LUMBER, INC. BROOKVILLE, PA" 1seo5 VENDOR AGREEMENTS $0.00
16460 CROGHAN PIKE

76 BRUMBAUGH LUMBER, LLC SHIRLEYSBURG, PA te SUPPLY AGREEMENT 4/27/2015 $0.60

' 4005 BORMAN DRIVE

77 BURD BROTHERS INC. FAX: 513-735-1475; EMAIL: KYLE@BURDBROTHERS.COM | LOEIGTICS TRUCKLOAD TRANSPORT 1/21/2019 $48,516.92
BATAVIA, OH 45103
4005 BORMAN DRIVE

78 BURD BROTHERS INC. FAX: 513-735-1475; EMAIL: KYLE@BURDBROTHERS.COM TRANSPORT Ree TRUCKLOAD 1/21/2019 $0.00
BATAVIA, OH 45103
POST OFFICE BOX 929

, RD. 1 WASTE DISPOSAL AND TRANSPORT
79  BURGMEIER’S HAULING, INC. Box 938 NoneEMenn 5/21/2016 $41,063.97

 

ALTOONA, PA 16601

 

 

 

 

Page 5 of 34

 

 
Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 7 of 35

COUNTERPARTY NAME

 

COUNTERPARTY ADDRESS

272 BURKET HOLLOW ROAD.

CONTRACT DESCRIPTION

EXPIRATION
DATE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

80 BURKET HARDWOODS EAST FREEDOM, PA ees” SUPPLY AGREEMENT 3/30/2015 $0.00
197 TOWER ROAD

81 CAC SMITH LUMBER COMPANY, INC. SUMMERHILL Pa 15958 SUPPLY AGREEMENT 3/30/2015 $0.00
220 PENSACOLA ROAD

82 C.E. CLARK & SONS EVERETT Pa Lasso SUPPLY AGREEMENT 3/30/2015 $896.00
2769 CAMERON'S ROAD

83 CAMERON LUMBER, LLP HOMER CITY, PA isyas SUPPLY AGREEMENT 4/27/2015 $26,459.65

CHEMTRADE ELECTROCHEM US INC.
84 " CANEXUS U.S. INC. P.0,BOX 733840 SUPPLY AGREEMENT 12/31/2018 $236.43
DALLAS, TX 75373-3840

3333 N. MAYFAIR ROAD

85 _CARE-PLUS DENTAL PLANS, INC. SUITE 311 TCU RENCE OR GROUP DENTAL 6/30/2016 $358.43
WAUWATOSA, WI 53222
3333 N. MAYFAIR ROAD

86  CARE-PLUS DENTAL PLANS, INC. SUITE 311 INcURANCE GROUP.DENTAL 12/31/2017 $0.00
WAUWATOSA, WI 53222
859 F STREET #110 LOGISTICS TRUCKLOAD TRANSPORT

87 CARLSON LOGISTICS INC. WEST SACRAMENTO, CA 95601 NOREEMEN 10/4/2010 $0.00
1157 N. MILK & WATER ROAD

88 CASEY D. WEICHT EVERETT PA 1essy SUPPLY AGREEMENT 3/30/2015 $2,169.89
PO BOX 13834 ; ;

89 CATERPILLAR FINANCIAL SERVICES NEWARK, Ni 07188-0834 2016 LEASE; CAT BOOM LIFT; [33774] $0.00
400 E. 22ND STREET SOFTWARE LICENSE AND SUPPORT

90 CDI TECHNOLOGY LLC LOMBARD, IL 60148 AGREEMENT $0.00
200 N. MILWAUKEE AVE. SOFTWARE LICENSE AND SUPPORT

91 CDW DIRECT, LLC VERNON HILLS, IL 60061 AGREEMENT 8/8/2016 $131,228.16
425 STEEL WAY
ATTN: THOMY EMBLY

92 CENTRAL PENNSYLVANIA EMATL: THOMY@CENTRALPENNTRANS.COM FREIGHT 2/9/2021 $30,702.40
LANCASTER; PA 17601
PO BOX 398688

93 CERTENT SAN FRANCISCO, CA 94139-8688 US FINANCE $0.00
150 CESSNA SAWMILL ROAD

94 _CESSNA BROS SAWMILL CIEARVILLE, PA TNS SUPPLY AGREEMENT 3/30/2015 $1,036.44
99 7TH ST

95 CFS LOGGING AND EXCAVATING, LLC VENDOR AGREEMENTS $2,120.36

TYRONE, PA 16686-1306

 

 

 

 

 

Page 6 of 34

 

 

 
 

 

Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 8 of 35

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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147 LEPRECHAUN LANE

96 CHESTNUT RIDGE TIMBER SERVICE, LLC NEW PARIS, Pa 15500 SUPPLY AGREEMENT 10/22/2015 $3,857.09

97 CIGNA HEALTH AND LIFE INSURANCE COMPANY P.O. BOX 15111 BUSINESS TRAVEL INSURANCE 3/31/2018 $0.00
WILMINGTON, DE 19850 :
W6483 DESIGN DR - UNIT B

98. CINTAS GREENVILLE, WI 84949 US SERVICE AGREEMENTS $0.00
PO BOX 630910

99 CINTAS CINCINNATI, O11 45263-0910 SERVICE AGREEMENTS 10/15/2020 $0.00
PO BOX 742927

100 CISCO-SYSTEMS.CAPITAL CORPORATION 108 ANGELES, CA 90074-2939 EQUIPMENT LEASE 9/2/2017 $2,953.67
1 NORTH WALL QUAY ACCOUNT RECEIVABLE PURCHASE

101 CITIBANK EUROPE PLC DUBLIN, 0 IRELAND AGREEMENT $0.00

TRIPARTITE LIEN RELSEASE AND
102 CITIBANK EUROPE PLC DUBLIN ee anAY ASSIGNMENT OF PROCEEDS $0.00
‘ AGREEMENT

300 E. CENTRAL AVENUE

103 CITY OF WEST CARROLTON, OH WEST CARROLLTON, OM 45449 INDEMNIFICATION AGREEMENTS 5/30/2014 $0.00
221 SALEM AVENUE

104 CLARK REAM LUMBER SOMERSET, PA ISS01 SUPPLY AGREEMENT 3/30/2015 $0.00
3069 LELIA LANE LOGISTICS TRUCKLOAD TRANSPORT

105 CLAYTON WEAVER TRUCKING LLC FAIRFIELD, ON 45014 AGRELMERY 9/26/2011 $0.00
8 KARNS AVENUE

106 CLINGERMAN, INC. EVERETT. PA 15837 SUPPLY AGREEMENT 1/11/2017 $0.00
24721 NETWORK PL

107 COGNIZANT TECHNOLOGY SOLUTIONS CHICAGO, IL 6oo73-1247 IT SUPPORT SERVICES 1/31/2020 $313,315.00
1750 W. FULLERTON AVENUE

108 COMBINED RESOURCES, INC. ADDISON, IL eouoe VENDOR AGREEMENTS 12/31/2016 $0.00
8300 TYRONE PIKE

109 COMMON COUNTRY ENTERPRISES, LLC. IRVONA, Ph teees VENDOR AGREEMENTS 3/30/2015 $0.00
11013 KENWOOD ROAD
FAX: 513-791-0880; EMAIL: WAREHOUSE SPACE AND SERVICES

110 COMMONWEALTH WAREHOUSE BLCOLLINS@COMMONWEALTHINC.COM AGREEMENT $0.00
CINCINNATI, OH 45242
11013 KENWOOD ROAD
FAX: 513-791-0880; EMAIL: WAREHOUSE SPACE AND SERVICES

111 COMMONWEALTH WAREHOUSE INC. BLCOLLINS@COMMONWEALTHINC.COM AGREEMENT - Kansas City 1/31/2019 $0.00
CINCINNATI, OH 45242

 

 

Page 7 of 34

 
 

 

Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 9 of 35

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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COUNTERPARTY NAME ERPARTY ADDRESS CONTRACT DESCRIPTION DATE AMOUNT

11013 KENWOOD ROAD
FAX: 513-791-0880; EMAIL: WAREHOUSE SPACE AND SERVICES

112 COMMONWEALTH WAREHOUSE INC. BLCOLLINS@COMMONWEALTHINC.COM AGREEMENT - Ohio 4/31/2019 $0.00
CINCINNATI, OH 45242
18400 N.E. UNION HILL ROAD SERVICES AGREEMENT FOR BUSINESS

113 CONCUR TECHNOLOGIES, INC. REDMOND, WA 98052 EXPENSE REPORTING 6/24/2010 $94.56
1623 S LUMBER ST

114° CONTINENTAL PAPER GRADING CO. CHICAGO, IL 60616 VENDOR AGREEMENTS 12/31/2014 $0.00
1634 COFRIN DRIVE

115 CONTRACT TRANSPORT SERVICES, LLC PO BOX 8235 AORERM ER UCKLOAD TRANSPORT 2/7/2021 $27,830.50
GREEN BAY, WI 54308
P.O. BOX 2850

116° CON-WAY FREIGHT INC. PORTLAND, OR 97208 LOGISTICS PRICING AGREEMENT $0.00
20325 CENTER RIDGE ROAD

117 CORPORATE UNITED PURCHASING CONSORTIUM, INC.| SUITE 527 SERVICES AND COUDMENT SON $0.00
ROCKY RIVER, OH 44116
211 SAWMILL LANE

118 COVE PALLET MARTINSBURG, PA 16662 SUPPLY AGREEMENT 3/30/2015 $5,858.20
1434 CURRYVILLE ROAD

119 COVE STAKE AND WOOD MARTINSBURG, PA 16662 SUPPLY AGREEMENT 3/30/2015 $927.18
2545 W. DIVERSEY AVE.

120. COYOTE LOGISTICS, LLC CHICAGO, IL 60647 LOGISTICS DRAYAGE AGREEMENT 3/6/2019 $0.00
1069 SIEBERT AVENUE LOGISTICS TRUCKLOAD TRANSPORT

121 CRESSLER TRUCKING INC. SHIPPENSBURG, PA 17257 AGREEMENT 3/10/2014 $0.00
515. DAVID STREET

122. CW KRAUSE AND SONS, LLC HOUTZDALE, PA 16651 SUPPLY AGREEMENT 3/30/2015 $7,046.31
PO BOX 100

123 D&D WOOD SALES, INC. NICKTOWN, PA 15762 SUPPLY AGREEMENT 3/30/2015 $17,945.23
10228 GOVERNOR LANE BLVD.

124 D.M. BOWMAN, INC. FAX: 217-351-5741; EMAIL: TPLATHE@DMBOWMAN.COM DOE eR RUCKLOAD TRANSPORT 2/14/2020 $13,975.87
WILLIAMSPORT, MD 21795
SX, 15 WAREHOUSE, LOT 67894
JALAN F26-PI, PORT KLANG FREE ZONE/KS12 WAREHOUSE SPACE AND SERVICES

125 DAMCO LOGISTICS MALAYSIA SDN BHD FAX: 4607 5071848; EMAIL: KOKPING.WOO@DAMCO.COM | AGREEMENT 7/31/2019 $0.00
JALAN, SUBANG JAYA, PULAU INDAH, SELANGOR 42920
1721 SUSAN DR

126: DATA DISTRIBUTION SERVICES INC. ARLINGTON, TX 76010 LOGISTICS PRICING AGREEMENT $0.00.
327 ROCKHILL CHURCH ROAD

127 DAVID BEEGLE CLEARVILLE, PA 15535-9802 SUPPLY AGREEMENT 3/30/2015 $3,092.76

 

 

Page 8 of 34

 
Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 10 of 35

COUNTERPARTY NAME

COUNTERPARTY ADDRESS

3170 MOUNTAIN ROAD

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AMOUNT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

128 DAVID BERKEY PO BOX 66 SUPPLY AGREEMENT 11/30/2016 $0.00
CLAYSBURG, PA 16625
1625 BERGSTROM RD

129 DAYTON FREIGHT INC. NEENAH, Wt S4986 LOGISTICS PRICING AGREEMENT $0.00
10235 TIMBER RIDGE DRIVE LOGISTICS TRUCKLOAD TRANSPORT

130 - DDI TRANSPORTATION ASHLAND, VA-23008 NOREEMERT 12/17/2014 $0.00
8001 BIRCHWOOD COURT

131 DE LAGE LANDEN FINANCIAL SERVICES, INC. P.O. BOX 2000 2014 LEASE; CAT FORKLIFT: [33067] 12/31/2018 $614.75
JOHNSTON, IA 50131-0020
1111 OLD EAGLE SCHOOL ROAD

132 DE LAGE LANDEN FINANCIAL SERVICES, INC. PHONE: 866-355-5438; FAX: 866-287-1176 EQUIPMENT LEASE AGREEMENT 12/12/2020 $0.00
WAYNE, PA 19087
1111 OLD EAGLE SCHOOL ROAD

133 DE LAGE LANDEN FINANCIAL SERVICES, INC. PHONE: 866-355-5438; FAX: 866-287-1176 EQUIPMENT LEASE AGREEMENT 5/1/2018 $0.00
WAYNE, PA 19087
8814 COUNTY ROAD F
PO BOX 145 LOGISTICS TRUCKLOAD TRANSPORT

134 DEBOER TRANSPORTATION, INC. FAX:.715-652-2209; EMAIL: BIDS@DEBOERTRANS.COM AGREEMENT 2/28/2021 $99,326.39
BLENKER, WI 54415
1031 CENTRE RD STE 300

135 DELAWARE CHARTER GUARANTEE & TRUST COMPANY | WttlineNON Re sgegy KSOP SERVICES $0.00
co woke ROAD SERVICES CONTRACT FOR THIRD PARTY

136 DELTA DENTAL OF WISCONSIN, INC, PHONE: 715-344-6087; FAX: 715-344-9058 ADMINISTRATIVE SERVICES RELATED $0.00
STEVENS POINT, WI 54481
31320 SOLON ROAD

137 DELTA DIVERSIFIED, INC. SUITE 21 RECRUITING SERVICES $0.00
SOLON, OH 44139
421 SHOWALTER ROAD

138° DENNIS A. CLAAR EAST FREEDOM, Pa 16637 SUPPLY AGREEMENT 3/30/2015 $11,918.06
361 CEMETERY ROAD

139 DENOCHICK LOGGING AND CLEARING MORRISDALE, PA 18058 SUPPLY AGREEMENT 8/13/2015 $0.00
255 £. OLYMPIC BLVD.

140 DEPENDABLE HIGHWAY EXPRESS LOS ANGELES, Ca‘90023 LOGISTICS PRICING AGREEMENT $39,919.19
506 HARRISON ROAD

141 DEREK MICHAEL HILLEGASS SCHELLSBURG, PA 19559 SUPPLY AGREEMENT 3/30/2015 $0.00
P.O: BOX 1001

DIRECTOR OF DEVELOPMENT OF THE STATE OF OHIO,
142 DEPARTMENT OF DEVELOPMENT, ECONOMIC 27 SOUTH HIGH STREET, 28TH FLOOR LOAN AND SECURITY AGREEMENT $0.00
DEVELOPMENT FINANCE oheercn PHONE: 614-466-5420: FAX: 614-644-1789

COLUMBUS, OH 43216-1001
395 BLVD DE MASONNEUVE WEST
FAX: 514-848-6850; EMAIL: $4,660,353.78

143 DOMTAR A.W. LLC i BASE STOCK SUPPLY AGREEMENT 2/21/2027 | PLUS PER DIEM

 

RAZVAN.THEODORU@DOMTAR.COM
MONTREAL, QC H3A iL6

 

 

 

INTEREST,

 

Page 9 of 34

 

 

 
 

 

Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 11 of 35

COUNTERPARTY NAME

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130 UNION ROAD

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144 DON BROWN LOGGING PORTAGE, PA 19946 SUPPLY AGREEMENT
77 ANDERSON ROAD

145 DUSTIN FULTZ LEWISTON, PA L044 SUPPLY AGREEMENT 1/28/2017 $2,489.76
175 CHERRY LANE

146 DWANE BARKMAN CLEARVILLE, Pr 15536 SUPPLY AGREEMENT 3/30/2015 $3,905.95
2530 ROCK ROAD
FAX: 618-876-7987; EMAIL: LOGISTICS TRUCKLOAD TRANSPORT

147 DYNAMIC TRANSIT CO. MMCMAHILL@DYNAMICTRANSIT.COM AGREEMENT 2/28/2021 $2,700.88
GRANITE CITY, IL 62040
6721 ADMIRAL PERRY HIGHWAY

148 E&E LOGGING & SONS LORETO, FA isaan SUPPLY AGREEMENT 3/30/2015 $6,544.37
201 COVE LANE ROAD
ATTN: JEAN CLAYCOMB

149 EF. SMITH FAX: 814-224-5617; EMAIL: EFSI@EMBARQMAIL,COM FREIGHT 2/28/2021 $19,316.60
ROARING SPRING, PA 16673
PO BOX 73

150 E.F. SMITH, INC. ROARING SPRING, PA ‘16673 REAL ESTATE LEASES 5/19/2017 $0.00
PO BOX 93531

151 EATON CORPORATION CHICAGO, 1. 60673-3531 SERVICE AGREEMENTS $0.00
2319 BEANS COVE

152. EBY SAWMILL CLERRVILLE, PA 15535 SUPPLY AGREEMENT 3/30/2015 $3,697.39
740 S. MILLIKEN AVE.
SUITE A, B&C LOGISTICS TRUCKLOAD TRANSPORT

153 ECKO PRODUCTS GROUP LLC FAX: 909-443-5059; EMAIL: EMARTINEZ@ECKOPG.COM | AGREEMENT 8/18/2021 $0.00
ONTARIO, CA 91761
740 MILLIKEN AVENUE

154 ECKO PRODUCTS GROUP, LLC FAX: 909-628-5678; EMAIL: CHIVELY@ECKOPG.COM FONE er SPACE AND SERVICES 12/31/2019 $0.00
ONTARIO, CA 91761
N779 COMMUNICATION DR.

155 EDCI APPLETON, W! 84915 IT MAINTENANCE CONTRACT 4/27/2012 $0.00
PO BOX 963

156 EDCI APPLETON, WI'54912-0963 INFORMATION TECHNOLOGY 4/27/2018 $0.00
115 LAUREL HILL DRIVE

157 E-FORESTRY, LLC PHILIPSBURG PA 168e6 SUPPLY AGREEMENT 7/16/2015 $0.00
11923 W. 131ST TER LOGISTICS TRUCKLOAD TRANSPORT

158 EKG ENTERPRISE, LLC OVERLAND PARK, KS 66213 noneeMGer 5/22/2021 $86,245.31

159. EPES TRANSPORT SYSTEM, INC. 3400 EDGEFIELD COURT LOGISTICS TRUCKLOAD TRANSPORT 5/3/2016 $0.00

 

GREENSBORO, NC 27409

 

AGREEMENT

 

 

 

Page 10 of 34

 

 
Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 12 of 35

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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P.O: BOX 25612

160 ESTES EXPRESS LINES RICHMOND, VA 23260-5612 LOGISTICS PRICING AGREEMENT $0.00
1386 PARTNERSHIP DRIVE LOGISTICS TRUCKLOAD TRANSPORT

161 EXCLUSIVE USE EXPRESS LTD. GREEN BAY, WI 54304 AGREZMENT 3/31/2015 $2,400.00
100 MANPOWER PLACE

162°. EXPERIS US, INC. MILWAUKEE, WI 53212 RECRUITING SERVICES $0.00
2929 CAMPUS DRIVE
SUITE 400 SERVICES AGREEMENT FOR

163 WATSON DELAWARE ING JIPER 2006) TOWERS PHONE: 650-292-7704; EMAIL: ADMINISTERING GROUP HEALTH AND 8/14/2014 $17,400.57

. JMURAD@TOWERSWATSON.COM DENTAL BENEFITS
SAN MATEO, CA 94403
EXXONMOBILE CHEMICAL COMPANY, A DIVISION OF | 13501 KATY FREEWAY

164 - EXXON MOBIL CORPORATION HOUSTON, TX 77079-1398 SUPPLY AGREEMENT 7/31/2012 $0.00
3458 MORELAND AVE SE

165 FEPCO TRUCKING, INC. PO BOX 447 FREIGHT 12/12/2019 $0.00
CONLEY, GA 30287
2300 NORTH SANDRA STREET

166 FERGUSON ENTERPRISES, INC. APPLETON, WIsa9nt SUPPLY AGREEMENT 1/31/2017 $17,466.76
38 FOUNTAIN SQUARE PLAZA

167 FIFTH THIRD BANK FAX: 513-534-0875 FINANCE 6/26/2018 $0.00
CINCINNATI, OH 45263
38 FOUNTAIN SQUARE PLAZA

168 FIFTH THIRD BANK FAX: 513-534-0875 INTEREST RATE SWAP 6/28/2019 $0.00
CINCINNATI, OH 45263
38 FOUNTAIN SQUARE PLAZA

169 FIFTH THIRD BANK FAX: 513-534-0875 NOREEN EAE SURY MANAGEMENT $0.00
CINCINNATI, OH 45263
1814 HOLLINS ROAD NE LOGISTICS TRUCKLOAD TRANSPORT

170  FLEETMASTER EXPRESS, INC. ROANOKE, VA 24000 ACRERMENT 9/13/2016 $0.00
1814 HOLLINS ROAD NE LOGISTICS TRUCKLOAD TRANSPORT

171 FLEETMASTER EXPRESS, INC. ROANOKE, VA 24012 AOREEMERT $0.00
800 WESTHILL BLVD SERVICE AGREEMENT FOR RECRUITING

172 FLEX-STAFF, INC, APPLETON, WI S4914 OND State 8/11/2014 $0.00
235 KITZMILLER ROAD

173. FLINTRIDGE LOGGING, LLC BLAIRSVILLE: PA toot? SUPPLY AGREEMENT 8/18/2016 $0.00

174 FORT JACKSON LOGGING, LLC 8689 RT. 25 SUPPLY AGREEMENT 5/31/2015 $0.00

7 SPRING GLEN, PA 17978 .
F-O-R-T-U-N-E PERSONNEL CONSULTANTS OF 4317 RUM CAY PL
175 Bancon SARASOTA, FL 34233 RECRUITING SERVICES $0.00

 

 

 

 

 

 

Page 11 of 34

 

 
 

Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 13 of 35

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176. FOURKITES, INC. SUITE 400 3/31/2020 $0.00
CHICAGO, IL 60602 AGREEMENT
FOX RIVER VALLEY RAILROAD CORPORATION, AS 200 DOUSMAN REAL ESTATE LEASE (LICENSE TO
177 SUCCESSOR IN INTEREST TO CHICAGO AND P.O. BOX 2527 OPERATE SEWER LINE UNDER $0.00
NORTHWESTERN TRANSPORTATION COMPANY GREEN BAY, WI 54306 RAILROAD TRACKS)
FOX RIVER VALLEY RAILROAD CORPORATION, AS 200 DOUSMAN CeeRARe PRIVATE ChOSEINN OF
178 SUCCESSOR IN INTEREST TO CHICAGO AND P.O. BOX 2527 RAILROAD TRACKS) « Eocr Shing RR $0:00
NORTHWESTERN TRANSPORTATION COMPANY GREEN BAY, WI.54306 Grosting Ping
FOX RIVER VALLEY RAILROAD CORPORATION, AS 200 DOUSMAN OPERATE PRIVATE chOSENR Oe
179 SUCCESSOR IN INTEREST TO CHICAGO AND P.O. BOX 2527 RAILROAD TRACKS) - Peclestion $0.00
NORTHWESTERN TRANSPORTATION COMPANY GREEN BAY, WI 54306 Walkway
REAL ESTATE LEASE (LICENSE TO
P.O. BOX 5081 OPERATE PRIVATE CROSSING OF AND
180 FOX VALLEY & WESTERN LTD ROSEMONT, IL 60017-5081 WALKWAYS ALONGSIDE OF RAILROAD 4/26/2024 $0.00
TRACKS)
REAL ESTATE LEASE (LICENSE TO
P.O. BOX 5081 OPERATE PRIVATE CROSSING OF AND
181 FOX VALLEY & WESTERN LTD ROSEMONT, IL 60017-5081 WALKWAYS ALONGSIDE OF RAILROAD 8/31/1999 $0.00
TRACKS)
875 OLD ROSWELL ROAD
SUITE'G300 LOGISTICS TRUCKLOAD TRANSPORT
182 FREIGHTCO DEDICATED LLC FAX: 260-478-8501; EMAIL: TBEST@FREIGHTCO.ORG AGREEMENT 2/28/2019 $0.00
ROSWELL, GA
2883 MORGANTOWN ROAD
183 FREY PALLET CORPORATION SMITHFIELD, PA 1478 SUPPLY AGREEMENT 2/2/2016 $0.00
800 ISBELL STREET
184 G&K SERVICES INC. FAX: 920-497-8498; EMAIL: MCOLBERT@GKSERVICES.COM| SUPPLY AGREEMENT FOR INDUSTRIAL 41/30/2012 $922.70
GREEN BAY, WI 54303
3323 OLD MOUNTAIN ROAD
185 GARNER LUMBER, INC. PO BOX 462 SUPPLY AGREEMENT 4/27/2015 $4,249.98
JAMES CREEK , PA 16657
4043 MCCANN ROAD
186 GENERAL DATA COMPANY, INC. CINCINNATL, OF 45245 TECHNOLOGY LICENSING AGREEMENT $0.00
12754 GLEN DRIVE
187 GLEN C. BAKER HESSTON, PA 16047 SUPPLY AGREEMENT 3/30/2015 $0.00
119 PEARSON LANE
188 GRAHAM LUMBER COMPANY WILLIAMSBURG, PA 16693 SUPPLY AGREEMENT 8/7/2015 $1,547.95
231 ELK LANE
189 GRAND WATER RUSH, LLC LOCK HAVEN, PA 17745 SUPPLY AGREEMENT 10/15/2015 $0.00
181 MULCH DRIVE
190 GRANT'COUNTY MULCH, INC, PETERSBURG, WY 26847 SUPPLY AGREEMENT 10/1/2015 $0.00
185 FAIRFIELD AVENUE #2B
191 GRANWELL PRODUCTS, INC. EMAIL; JSHEE@GRANWELL.COM SUPPLY AGREEMENT 5/31/2016 | $1,701,962.46

 

WEST CALDWELL, NJ 07006-6475

 

 

 

 

Page 12 of 34

 

 
 

Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 14 of 35

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SERVICE AGREEMENT (LINEN AND

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$1,884.34

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

192 GUNDERSON UNIFORM & LINEN RENTAL, INC. EMAIL: SF@GUNDERSONGROUP.COM
MENASHA, WI 54952 LAUNDERING)
PO BOX 640371

193 GXS, INC. PITTSBURGH, PA 18264-0371 SERVICES AGREEMENT 2/28/2018 $1,829.03
9642 WESTERN WAY

194 H.O. WOLDING INC. FAX: 715-824-5018; EMAIL: MWOLDING@WOLDING.COM nOhEEMGeE RUCKLOAD TRANSPORT 2/7/2021 $160,177.44
AMHERST, WI 54406
217 GRAND AVENUE
FAX: 715-392-1418; EMAIL: LOGISTICS TRUCKLOAD TRANSPORT

195 HALVOR LINES INC. SANDERSON@HALVORLINES.COM AGREEMENT 2/14/2019 $0.00
SUPERIOR, WI 54880
C/O HAMBURG SUD NORTH AMERICA

196° HAMBURG SUD 465 SOUTH STREET F 3 STE 300 FREIGHT 9/30/2018 $0.00
MORRISTOWN, Ni’ 07960
3710 GUN CLUB ROAD LOGISTICS TRUCKLOAD TRANSPORT

197 HANEY TRUCK LINES, INC. YAKIMA, WA 98908 AGREEMENT 8/9/2010 $0.00
C/O HAPAG-LLOYD (AMERICA) INC,

198 HAPAG-LLOYD 399 HOES LANE FREIGHT 6/30/2018 $0.00
PISCATAWAY, NJ_08854
136 RICHNER ROAD

199 HARRY DOTTS OSCEOLA MILLS, PA 1666 SUPPLY AGREEMENT 3/30/2015 $2,307.62
944 LANE AVENUE LOGISTICS TRUCKLOAD TRANSPORT

200 HART TRANSPORTATION INC. NORTH JACKSONVILLE, FL 32254 MOREEMERY 12/6/2010 $0.00
225 TOWN PARK DRIVE

201 HCC LIFE INSURANCE COMPANY SUITE 350 STOP LOSS INSURANCE POLICY 6/30/2018 $0.00
KENNESAW, GA 30144
162 ASTOR ROAD

202 HOCKER LOGGING BEDFORD, PA 15522 SUPPLY AGREEMENT 3/30/2015 $0.00
118 SAND VALLEY ROAD

203 HOFFMAN BROTHERS LUMBER, INC. RICHFIELD, PA 17086 SUPPLY AGREEMENT 1/25/2017 $0.00

294 HONEYWELL INTERNATIONAL INC., ACTING THROUGH | 512 VIRGINIA DRIVE SOFTWARE AND EQUIPMENT 5/31/2018 $0.00

ITS PROCESS SOLUTIONS BUSINESS UNIT FORT WASHINGTON, PA 19034 AGREEMENT :

1318 E, 236TH STREET LOGISTICS TRUCKLOAD TRANSPORT

205 HOOSIER TRADEWINDS INC. ARCADIA, IN d6DS0 AGRERMENT 6/29/2012 $0.00
19760 BLACKLOG VALLEY ROAD

206. HORSEPOWER WOOD PRODUCTS, LLC ORBISONIA, PA 17243 SUPPLY AGREEMENT 4/27/2015 $0.00

207 HP DISTRIBUTION LLP 1101 SOUTH 5TH STREET LOGISTICS TRUCKLOAD TRANSPORT 10/6/2011 $0.00

 

KANSAS CITY, KS 66105

 

AGREEMENT

 

 

 

Page 13 of 34

 

 
 

 

 

Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 15 of 35

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FINANCE SSB

208 HUMANA 1100 EMPLOYERS BLVD neteeMen BENEFITS PLAN 12/31/2018 $0.00
GREEN BAY, WI 54344-0003
FINANCE SSB

209 HUMANA 1100 EMPLOYERS BLVD AGREEMENT. MESICARY RDU AR ANGE 12/31/2018 $0.00
GREEN BAY, WI 54344-0003
PO BOX 105743 2016 LEASE; RICO PLATFORM TRUCK;

210. HYG-FINANCIAL SERVICES ATLANTA, GA 20348-5743 (33854) $0.00
PO BOX 105743 . ;

211 HYG FINANCIAL SERVICES ATLANTA, GA 30348-5743 2015 LEASE; YALE LP TRUCK; [33590] 6/27/2017 $0.00
PO BOX 105743 ; .

212 HYG FINANCIAL SERVICES, INC, ATLANTA, GA 30348-5743 2013 LEASE; ALLIED FORKLIFT; [33066] 12/31/2018 $0.00
300 £. JOHN CARPENTER FREEWAY

213 HYG FINANCIAL SERVICES, INC. IRVING, 1X 75062 Dye EQUIPMENT LEASE AGREEMENT - RICO 2/27/2022 $0.00
300 E. JOHN CARPENTER FREEWAY

214 HYG FINANCIAL SERVICES, INC. IRVING, TX y50en a7 EQUIPMENT LEASE AGREEMENT - Yale 2/27/2022 $0.00
7100 HIGHLANDS PARKWAY

215 IBM CREDIT LLC SMYRNA. GA 30080 EQUIPMENT LEASE 12/20/2019 $541.51
7100 HIGHLANDS PARKWAY

216 IBM CREDIT LLC SMYRNA GA s003e EQUIPMENT LEASE 11/22/2018 $6.00
7100 HIGHLANDS PARKWAY

217 IBM CREDIT LUC SMYRNA GA S00 EQUIPMENT LEASE 11/30/2019 $0.00

SERVICE CONTRACT FOR EMPLOYMENT

218 ICIMS, INC. 90 MATAWAN ROAD RECRUITING PROGRAM AND RELATED 10/31/2018 $0.00

MATAWAN, NJ 07747
SERVICES

885 COMMERCE DRIVE

219 IMAGE INTEGRATION SYSTEMS D/B/A DOCUSPHERE | SUITE B MAINTENANCE ceeurere. WARE 3/20/2015 $0.00
PERRYSBURG, OH 43551
1801 LAWRENCE DRIVE
P.O. BOX 5790

220 INDEPENDENT PRINTING COMPANY, INC, FAX: 888-336-6118; EMAIL: PULL Ue CVE eeRPER 7/31/2018 $4,982.27
JBRUCE@INDEPENDENTINC.COM
DE PERE, WI 54115
21 EAST STATE STREET
17TH FLOOR SERVICE AGREEMENT REGARDING

221 INDUSTRIAL ENERGY USERS-OHIO PHONE: 614-719-2840; EMAIL: SAM@MWNCMH.COM ENERGY LOAD CURTAILMENT 5/31/2018 $0.00
COLUMBUS, OH 43215-4228
1001 OAKDALE ROAD

222 INDUSTRIAL SCIENTIFIC CORPORATION PHONE: 1-800-338-3287 EXT 1811; FAX: 412-809-1813 SERVICES AND EGUOMEN CoN 6/30/2019 $0.00
OAKDALE, PA 15071-1500
1001 OAKDALE ROAD EQUIPMENT LEASE-GAS DETECTION

223 INDUSTRIAL SCIENTIFIC CORPORATION PHONE: 1-800-338-3287 EXT 1811; FAX: 412-809-1813 | SERVICES AND EQUIPMENT-SERVICE 6/30/2019 $0.00
OAKDALE, PA 15071-1500 AGREEMENT

 

Page 14 of 34

 

 
  

 

Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 16 of 35

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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262 FISHER LANE

224 INDUSTRIAL TIMBER AND PULP, LLC NEW GALILEE, PA 16141 SUPPLY AGREEMENT 12/6/2016 $0.00
TWO PENN PLAZA

225 INFORMATION BUILDERS, INC. NEW YORK, NY 10121-2808 SOFTWARE SERVICES AGREEMENT $10,874.73

: 2500 AUSTIN DRIVE

226. INS (GE FANUC AUTOMATION AMERICAS, INC.) CHARLOTTESVILLE VA 22911 SOFTWARE LICENSE AGREEMENT $0.00
711 BUSINESS PKWY LOGISTICS TRUCKLOAD TRANSPORT

227 J.G.S. TRANSPORTATION INC. CARLISLE, On 400% ACRERMENT 12/31/2008 $0.00
P.O. BOX 2859

228 J.T. LAWRENCE & CO. CRESTED BUTTE, CO 81224-2859 RECRUITING SERVICES $0.00
214 WERTZ ROAD

229 _J.W. LOGGING & FIREWOOD, INC. TYRONE. PA 16086 SUPPLY AGREEMENT 3/30/2015 $0.00

. 730 KUEHN COURT

230 JACK'S MAINTENANCE SERVICE, INC. NEENAH, WI54956 CLEANING SERVICES AGREEMENT 3/14/2017 $73,087.54
323 WATER SREET

231 JAKE SWAREY ALLENSVILLE, PA 17002 SUPPLY AGREEMENT 4/23/2016 $4,994.84
301 PLAINFIELD RD STE 100

232 JAS. RECRUITMENT LLC SYRACUSE, NY 13212 RECRUITING SERVICES $0.00
475 SANSOME STREET

233 JCB FINANCE, A PROGRAM OF BANK OF THE WEST 19TH FLOOR EQUIPMENT LEASE AGREEMENT 2/21/2022 $0.00
SAN FRANCISCO, CA 94111
520 MADISON AVENUE
19TH FLOOR GUARANTEE AND COLLATERAL

234 JEFFERIES FINANCE LLC FAX: 212-284-3444; EMAIL: JFIN.ADMIN@JEFFERIES.COM | AGREEMENT $0.00
NEW YORK, NY 10022
11100 SANTA MONICA BLVD - 12 FL

235 JEFFERIES FINANCE LLC LOS ANGELES, Ca 90025 FINANCE $0.00
520 MADISON AVENUE

236 JEFFERIES FINANCE LLC 19TH FLOOR CREDIT AGREEMENT 6/26/2018 $0.00
FAX: 212-284-3444; EMAIL: JFIN.ADMIN@JEFFERIES.COM ,
NEW YORK, NY 10022
520 MADISON AVENUE

237 JEFFERIES FINANCE LLC 19TH FLOOR INTERCREDITOR AGREEMENT $0.00
FAX: 212-284-3444; EMAIL: JFIN.ADMIN@JEFFERIES.COM ‘
NEW YORK, NY 10022
corn ee. AVENUE TRIPARTITE LIEN RELEASE AND

238. JEFFERIES FINANCE ULC FAX: 212-284-3444; EMAIL: JFIN.ADMIN@JEFFERIES.COM. | ASSIGNMENT OF PROCEEDS $0.00
NEW YORK, NY 10022
1188 GASWELL ROAD

239 JEFFREY A. MILLER GRANTSVILLE, MD 24536 SUPPLY AGREEMENT 1/4/2017 $0.00

 

 

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240° JEFFREY RHOAT LOGGING HOPEWELL, PA 16650 SUPPLY AGREEMENT 3/30/2015 $0.00
12889 SAWMILL ROAD

241 JM WOOD PRODUCTS, LLC ALLENSVILLE, PA 17002 SUPPLY AGREEMENT 3/30/2015 $6,554.60
3329 BEN FRANKLIN HWY,

242 JOE SIKORA EBENSBURG, PA 15931 SUPPLY AGREEMENT 7/30/2017 $0.00
1870 DORSEY AVENUE

243 JOHN GALLAHER IRVONA, >A 1eeee SUPPLY AGREEMENT 3/30/2015 $0.00
228 TRENTON ROAD

244° JOHN W. PRICE EVERETT, PA 15537 SUPPLY AGREEMENT 3/30/2015 $0.00
1756 TEABERRY ROAD

245 JOHN WHITFIELD BEDFORD. Pascoe SUPPLY AGREEMENT 3/30/2015 $1,759.86
3825 CORTLAND ROAD

246 JONATHAN IGOU NEW PARIS, PA 15564 SUPPLY AGREEMENT 3/30/2015 $0.00
5300 KENNEDY ROAD

247 JONES TRANSPORTATION INC. FAX: 404-968-1700; EMAIL: KIMBALL@JONESTRANS.COM AOREEMERT RUCKLOAD TRANSPORT 2/8/2021 $33,100.01
FOREST PARK, GA 30297-2013
19925 STEVENS CREEK BLVD.

248 JUSTRANSFORM.COM, LLC SUITE 100 IT SERVICES CONTRACT $0.00

“COM, PHONE: 408-973-7293 :

CUPERTINO, CA 95014
8015 WINDY SUMMIT LANE INDEMNIFICATION AGREEMENTS - CBO

249 JW WHITSEL LOGGING MAPLETON DEPOT, PA 17052 and Conveyance 3/30/2015 $0.00
728 WOLFE ROAD

250 K.C, STOYKA TIMBER HARVESTING EBENSBURG, PA 15931 SUPPLY AGREEMENT 5/1/2015 $0.00
3 STAUFFER INDUSTRIAL PARK LOGISTICS TRUCKLOAD TRANSPORT

251 KANE TRAFFIC SERVICES, INC. SCRANTON, PA Losod AGREEMENT 5/18/2013 $0.00
P.O. BOX 931 TO BE
FAX: 570-342-1652; EMAIL: WAREHOUSE SPACE AND SERVICES RESOLVED

252. KANE WAREHOUSING, INC. LOU-HOUCK@KANEISABLE.COM AGREEMENT 4/30/2018 PRIOR TO
SCRANTON, PA 18501 CLOSING

. 975 AMRON AVENUE LOGISTICS TRUCKLOAD TRANSPORT

253 KARL'S TRANSPORT INC. ANTICO, Wi eaan9 ACRERMENT 4/6/2015 $148,281.23
100 W LAWRENCE -ST -' STE 106B

254 K-C INTERNATIONAL, LLC (D/B/A EKMAN RECYCLING) | 400 WIGNVRENCE ST VENDOR AGREEMENTS 8/31/2016 $0.00

255 K-C INTERNATIONAL, LLC (D/B/A EKMAN RECYCLING) | 100 W LAWRENCE ST - STE 1068 VENDOR AGREEMENTS 12/31/2017 $0.00

 

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Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 18 of 35

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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6450 POE AVENUE LOGISTICS TRUCKLOAD TRANSPORT

256 KELLEY TRANSPORTATION DAYTON. Of asai4 hOREEUceT 1/31/2014 $0.00
637 HARRISON ROAD

257 KEVIN CROYLE SCHELLSBURG, Pa 13599 SUPPLY AGREEMENT 3/30/2015 $0.00
2411 WENTZ AVENUE LOGISTICS TRUCKLOAD TRANSPORT

260 KINDERSLEY TRANSPORT LTD. SASKATOON, SK 87K 36 AGREEMENT 5/31/2015 $0.00
6098 GLEN HOPE BLVD.

261 KITKO WOOD PRODUCTS, INC. GLEN HOPE, Pa leeds SUPPLY AGREEMENT 4/27/2015 $0.00
5347 WILLIAM FLYNN HIGHWAY
FAX: 724-449-3310 EMAIL: LOGISTICS INTERMODAL TRANSPORT

262° KNICHEL LOGISTICS LP IKRYSTEKORNICHECLOCISyICS.COM AGREEMEne 1/31/2021 $477,937.49
GIBSONIA, PA 15044
5601 WEST BUCKEYE ROAD LOGISTICS TRUCKLOAD TRANSPORT

263 KNIGHT TRANSPORTATION SERVICES INC. PHOENIX. Ar B5049 NOREEMENT 7/31/2013 $0.00
9879 CRESCENT PARK DR.

264 KONECRANES WEST CHESTER, OF 5080 SERVICE AGREEMENTS 12/31/2018 $127,551.55
PO BOX 743208 INFORMATION TECHNOLOGY: HQ TO

265 KRONOS ATLANTA, GA 30374-3208 CDW IN FITHBURG 9/23/2018 $0.00
5400 PROVISO DR INFORMATION TECHNOLOGY: LOCAL

266 L. NEILL CARTAGECO., INC. BERKELEY IL 0163 pkwe $0.00
1120 GRIFFIN RD. INFORMATION TECHNOLOGY: APDC

267 LAND SPAN INC. LAKELAND, PL 35805 oreo 12/31/2012 $0.00
1 BLUE HILL PLAZA

268 LANSCO COLORS PO. BOX 1685 VENDOR AGREEMENTS $8,175.35
PEARL RIVER, NY 10965
4590 CAMPBELLS RUN ROAD

269 LAUREL FOOD SYSTEMS PITTSBURGH, PA 15208 sare FOOD SYSTEM SERVICES 9/10/2012 $0.00
655 TREE LANE

270° LEE S. BERKEY WOODLAND TERRACE SUPPLY AGREEMENT 3/30/2015 $0.00
DUNCANSVILLE, PA 16635
250 HARR ROAD

271 LEEPER LUMBER, INC, PO BOX 397 SUPPLY AGREEMENT 4/27/2015 $0.00
ACME, PA 15610
PMB #284

LEMELSON MEDICAL, EDUCATION AND'RESEARCH 930 TAHOE BOULEVARD, NO. 802

272, FOUNDATION, LIMITED PARTNERSHIP FACSIMILE NO. 775-832-3088 LICENSING AGREEMENTS $0.00
INCLINE VILLAGE, NV 89451-9436
P.O. BOX 359

273 LENTHERIC, INC, APPLETON, WI 54911 TRADEMARK LICENSING AGREEMENT 6/29/1983 $0.00

 

 

 

Page 17 of 34

 
 

 

 

Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 19 of 35

COUNTERPARTY NAME

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174 MARBLE CITY ROAD

CONTRACT DESCRIPTION

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274 LEVI ELLER HOPEWELL, PA 16650 SUPPLY AGREEMENT 4/29/2016 $0.00
WEIWU ROAD, LIANYUNGANG CHEMICAL PART, GUANNAN
COUNTY

275 LIANYUNGANG CHAMELEON TECHNOLOGY CO. LTD. ATTN: GERAINT DAVIES SUPPLY AGREEMENT 2/21/2020 $0.00
EMAIL: GERAINT. DAVIES@CHAMELEONSC.COM
LIANYUNGANG, JIANGSU PROVINCE, 222523 CHINA
410 FEHELEY DRIVE

276 LIBERTY PERSONNEL SERVICES, INC. KING:OF PRUSSIA, PA 19406 RECRUITING SERVICES $0.00
3 MANHATTANVILLE RD

277 LINDENMEYR MUNROE, A DIVISION OF CENTRAL FAX: 610-239-9334; EMAIL: JISHUGAR@LINDENMEYR.COM SUPPLY AGREEMENT 7/31/2018 $14,917.24

NATIONAL-GOTTESMAN INC.

PURCHASE, NY 10577
567 JUANITA VALLEY ROAD

278° LOFTY-HEIGHTS LOGGING, LLC HOLLIDAYSBURG, PA 16648 SUPPLY AGREEMENT 7/16/2015 $0.00
300 DISTRIBUTION CIRCLE LOGISTICS TRUCKLOAD TRANSPORT

279 M&M AMERICAN LOGISTICS INC. FAIRFIELD, OH 45014 AGREEMENT 9/30/2011 $0.00
2001 YORK ROAD

280 MAERSK LINE SUITE 500 FREIGHT 6/30/2015 $0.00
OAK BROOK, IL 60523
ATTN: NADA EL-CHEIKH

281 MANULIFE FINANCIAL 55 METCALFE ST - STE 650 BENEFITS CONTRACTS 8/31/2018 $0.00
OTTAWA, ON K1P 6L5CANADA
314 LEADER ROAD

282 MARK S. PRICE EVERETT, PA 15537 SUPPLY AGREEMENT 3/30/2015 $8,353.95
46 SOUTH HUNTER HIGHWAY LOGISTICS TRUCKLOAD TRANSPORT

283 MARTINI, INC. DRUMS, PA 18222 AGREEMENT 2/14/2011 $0.00
132 MAIN STREET

284 MATSON LUMBER COMPANY BROOKVILLE, PA 15825 SUPPLY AGREEMENT 4/27/2015 $0.00
131 RONAN DRIVE

285 MATTHEW C. DOUTHIT STATE COLLEGE, PA 16801 SUPPLY AGREEMENT 9/29/2015 $0.00
4185 BROOKLAKE ROAD LOGISTICS TRUCKLOAD TRANSPORT

286 MAY TRUCKING COMPANY SALEM, OR 97305 AGREEMENT 9/7/2008 $0.00
7225 MORGANS ROAD

287 MBLUMBER HUNTINGDON, PA 16652 SUPPLY AGREEMENT 3/30/2015 $0.00
4200 CARRICK STREET
FAX: 807-622-3652; EMAIL: DAVE.KWASNY@MCKEVITT- LOGISTICS TRUCKLOAD TRANSPORT

288° MCKEVITT: TRUCKING LTD, TRUCKING.COM AGREEMENT 2/14/2021 $109,996.64
THUNDER BAY, ON P7B 5P9
1600 E, BENSON ROAD

289 MCT TRANSPORTATION, LLC FAX: 605-339-8407; EMAIL: JKROLIKOWSKI@MCTLOG.COM LOGISTICS TRUCKLOAD TRANSPORT 3/6/2021 $0.00

 

SIOUX FALLS, SD 57104

 

AGREEMENT

 

 

 

Page 18 of 34

 

 
Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 20 of 35

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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12-14 CHEMIN RIEU

290 MEDITERRANEAN SHIPPING COMPANY GENEVA. 1208 SWITZERLAND FREIGHT 12/31/2014 $0.00
1645 BERGSTROM RD.

291 MENASHA PACKAGING COMPANY LLC P.O. BOX 367 SUPPLY AGREEMENT 12/31/2006 $136,905.40
NEENAH, WI 54957-0367
26 TIMBER LN

292 METZLER FOREST PRODUCTS, LLC REEDSVILLE, PA‘17084 VENDOR AGREEMENTS 5/31/2018 $3,947.35
53 GRILLS ROAD
PO BOX 1540

293 MEYERS BELLEVILLE ON KBN 532 FREIGHT 3/10/2012 $0.00
BELLEVILLE, ON K8N 512
10110 FLEAGLE LANE

294 MICAH ROSENBERRY PO BOX 285 SUPPLY AGREEMENT 2/1/2016 $0.00
FANNETSBURG, PA 17221
6100 NEIL RD - STE 210

295 MICROSOFT LICENSING GP RENO. NV 9511 INFORMATION TECHNOLOGY $0.00
DEPT. 551, VOLUME.LICENSING

296 MICROSOFT LICENSING, GP Sonne ROAD SOFTWARE LICENSING $23,988.52
RENO, NV 89511-1137
PLAZA SOUTH TWO

297 MIDLAND CONSULTANTS coer NE ROAD RECRUITING SERVICES $0.00
MIDDLEBURG HEIGHTS, OH 44130
100 MIDLAND DR

298 MIDLAND TRANSPORT DIEPPE, ND ELA ex4 FREIGHT $0.00
1600 EAST BENSON ROAD LOGISTICS TRUCKLOAD TRANSPORT

299 MIDWEST COAST TRANSPORT SIOUX FALLS, SD a7ive AGREEMENT 5/31/2012 $0.00
102 ABBIE AVENUE

300 _ MIDWEST EXPRESS CORPORATION EMAIL: JEFF.JOHNSON@MWEX.NET ACheMERT RUCKLOAD TRANSPORT 6/30/2019 $16,965.35
KANSAS CITY, KS 66103
5015 E. MAIN AVE.

301 MIDWEST MOTOR EXPRESS, INC. FAX: 701-223-1880; EMAIL: RATES@MMEINC.COM TRANSPORT ROR eT UCKLOAD 2/28/2021 $13,129.99
BISMARCK, ND 58501
N7W22081 JOHNSON DRIVE

302 MILES DATA TECHNOLOGIES, LLC WAUKESHA, WI Salae tece DATA TECHNOLOGY SERVICES 11/29/2017 $0.00
ONE ATLANTA PLAZA STE 2300

303 MILITARY DIVISION OF LUCAS GROUP 950 EAST PACES FERRY RD NE RECRUITING SERVICES $0.00
ATLANTA, GA 30326
PO BOX 525

304° ML STAFFING, INC, LAFAYETTE HILL, PA 19444 RECRUITING SERVICES $0.00
620 N LYNNDALE DR

305 MODERN BUSINESS MACHINES APPLETON, Wi bond SERVICE AGREEMENTS 9/15/2019 $15,768.28

 

 

Page 19 of 34

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Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 21 of 35

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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MODERN BUSINESS MACHINES, A DIVISION OF 620 NORTH LYNNDALE DRIVE EQUIPMENT LEASE MAINTENANCE
306 MERIZON GROUP, INC P.O. BOX 147 AGREEMENT 9/15/2016 $0.00
7 INC. APPLETON, WI 54912
1700 N. JACKSON LOGISTICS TRUCKLOAD TRANSPORT
307 MOKAN DISTRIBUTION SERVICE, INC. KANSAS CITY. MO 64120 AORELMERY 6/8/2015 $0.00
1700 N. JACKSON LOGISTICS TRUCKLOAD TRANSPORT
308 MOKAN DISTRIBUTION SERVICE, INC. KANSAS CITY. Mo 64120 AChEeMeRe $0.00
1345 FRONT MOUNTAIN ROAD
309 MOUNTAIN SIDE HARDWOODS BELLEVILLE, PA yoo SUPPLY AGREEMENT 3/30/2015 $4,045.74
362 QUEEN STREET SERVICES AGREEMENT FOR PAYROLL
310 MT MANAGEMENT SERVICES PETERBOROUGH, ON K9H 336 SERVICES $0.00
630 MUTTART RD.
FAX: 920-722-6285; EMAIL: LOGISTICS LESS-THAN-TRUCKLOAD
311 N&M TRANSFER CO., INC. BSCHNEIDER@NMTRANSFER.COM TRANSPORT AGREEMENT 2/14/2021 $17,834.15
NEENAH, WI 54956
10 FINDERNE AVENUE
312 NATIONAL STARCH AND- CHEMICAL COMPANY BRIDGEWATER. Ny 08807 PATENT LICENSING AGREEMENT $0.00
175 WATER STREET
aoe NGM ON FIRE INSURANCE COMPANY OF 15TH FLOOR INSURANCE CONTRACTS 1/1/2018 $0.00
' NEW YORK, NY 10038
4601 SOUTH 70TH CIRCLE
314 NATIONWIDE TRANSPORTATION, INC. EMAIL: JUSTIN. PRETZER@NTWDTRANS.COM LOGISTICS TRUCKLOAD TRANSPORT 1/31/2021 $15,150.36
AGREEMENT
OMAHA, NE 68117
999 FOURIER DRIVE EMPLOYEE PHARMACY BENEFITS
315 NAVITUS HEALTH SOLUTIONS, LLC MADISON, WI 33047 ACREPMENS 12/31/2007 $0.00
1700 S. PATTERSON BLVD.
316 NCR CORPORATION DAYTON, Ol aSae0 IP LICENSING AGREEMENT $0.00
14181 COLLECTIONS CENTER DR
317 NCR CORPORATION CHICAGO, IL GOees VENDOR AGREEMENTS 12/31/2008 $0.00
PO BOX 77 SERVICE AGREEMENT FOR WELL
318 NEW ENTERPRISE STONE & LIME CO., INC, NEW ENTERPRISE, PA 16664 MONT ORIWE 8/21/2026 $53,481.70
835 HAMILTON STREET, SUITE 150
319 NPY JERSEY RESOURCES/TALEN ENERGY MARKETING,| p11” 366 cos 8895, FAX: 610-774-5561 VENDOR AGREEMENTS 12/31/2018 $0.00
ALLENTOWN, PA 18101
625 SOUTH FIFTH AVENUE LOGISTICS LESS-THAN-TRUCKLOAD
320 NEW PENN MOTOR EXPRESS LEBANON, PA'17042 TRANSPORT. AGREEMENT $11,148.00
411 EAST WISCONSIN AVENUE
NEX PERFORMANCE FILMS INC. C/O MASON WELLS | SUITE 1280
324 BUYOUT FUND II, LP. FAX: 414-727-6410 STOCK PURCHASE AGREEMENT $0.00
MILWAUKEE, WI 53202

 

 

Page 20 of 34

 
 

 

Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 22 of 35

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DALLAS, TX 75019

 

 

 

PO BOX 288
322 NINE NORTH LOGISTICS INC. 506168 HWY 89 RR 4 AOEEEMGRT RUCKLOAD TRANSPORT 10/19/2012 $0.00
SHELBURNE ON LON. 1S0
PO BOX 660083 2014 LEASE; NISSAN FORKLIFT;
323 NISSAN MOTOR ACCEPTANCE CORPORATION DALLAS, TX 75266-0083 [33064] 12/31/2018 $136.10
8900 FREEPORT PARKWAY
324 NISSAN MOTOR ACCEPTANCE CORPORATION P.O. BOX 660083 EQUIPMENT. LEASE AGREEMENT 11/4/2020 $0.00
DALLAS, TX 75063-2438
8900 FREEPORT PARKWAY
325 NISSAN MOTOR ACCEPTANCE CORPORATION P.O. BOX 660083 EQUIPMENT LEASE AGREEMENT 6/27/2022 $0.00
DALLAS, TX 75063-2438
HYG FINANCIAL SERVICES F/K/A NMHG FINANCIAL 10 RIVERVIEW DRIVE
326 SERVICES, INC. DANBURY, CT 06810 EQUIPMENT LEASE AGREEMENT 2/11/2019 $952.60
HYG FINANCIAL SERVICES F/K/A NMHG FINANCIAL 10 RIVERVIEW DRIVE
327 SERVICES, INC. DANBURY, CT 06810 EQUIPMENT LEASE AGREEMENT 7/27/2019 $1,581.60
HYG FINANCIAL SERVICES  F/K/A NMHG FINANCIAL 10 RIVERVIEW DRIVE 2014 LEASE; RICO.PLATFORM TRUCK;
328 seRVICES, INC PH: 866-419-7662 [33366] 7/27/2019 $744.50
var DANBURY, CT 06810
10 RIVERVIEW DRIVE . .
329 NMHG FINANCIAL SERVICES, INC. PH: 866-419-7662 (33679) YALE LP CLAMP TRUCK; 8/4/2020 $0.00
DANBURY, CT 06810
339 HYG FINANCIAL SERVICES F/K/A NMHG FINANCIAL 10 RIVERVIEW DRIVE EQUIPMENT LEASE, CONSENT TO $1,610.00
SERVICES, INC. DANBURY, CT 06810 ASSIGNMENT THEREOF em
LOC 00441
331 NORFOLK SOUTHERN MARK,HACKBART@NSCORP.COM FREIGHT 9/30/2014 $0.00
CINCINNATI, OH 45264-0441
8111 NELSON ROAD
332 NORFOLK SOUTHERN RAILWAY COMPANY FORT WAYNE, IN 46803 RAILROAD SIDING AGREEMENT $0.00
300 LIGHTING WAY, 5TH FLOOR
"NYK LINE (NA) INC. AS AGENT FOR NIPPON YUSEN
KABUSHIKI KAISHA"
333 NYK LINE PH: 201-330-3079; FAX: 800-588-9061; EMAIL: FREIGHT 12/31/2015 $0.00
DOUG.JOHNSON@NA.NYKLINE.COM
SECAUCUS, NJ_08094 __
2758 EAST VALLEY ROAD
335 OAKRIDGE: LUMBER LOGANTON, PA 17747 SUPPLY AGREEMENT 6/30/2015 $5,742.18
5005 L.B.J. FREEWAY
336 OCCIDENTIAL CHEMICAL CORP/DUREZ CORP. DALLAS, 1X 75244-6119 SUPPLY AGREEMENT 12/31/1996 $286,850.29
6600 NORTH MILITARYTRAIL
337 _ OFFICE DEPOT BOCA RATON, FL 33496 SERVICE AGREEMENTS 8/24/2021 $446.95
338 ONE SOURCE VIRTUAL kR, INC. 9001 CYPRESS WATERS BLVD BENEFITS CONTRACTS $0.00

 

Page 21 of 34

 

 
 

 

 

Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 23 of 35

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339 ONESOURCE VIRTUAL, INC. (F/K/A ONESOURCE 204 NORTH ECTOR DRIVE SERVICES CONTRACT TO PROVIDE 6/30/2013 $10,516.72
VIRTUAL HR, INC.) EULESS, TX 76039 PAYROLL AND TAX-RELATED SERVICES 7516.
2525 LAKE PARK BOULEVARD SERVICES AGREEMENT FOR HSA
340 OPTUMHEALTH BANK, INC. WEST VALLEY CITY, UT oatag aCeOUNTE 3/25/2014 $0.00
POST-PETITION
AMOUNTS TO BE
ATTN: DOCUMENTATION SALES PAID BY DEBTOR
341 ORACLE 500 ORACLE PKWY - MS659804 INFORMATION TECHNOLOGY 5/5/2022 PRIOR TO
REDWOOD SHORES, CA 94065 CLOSING OR
CURED AT
CLOSING
1100 SAN LEANDRO BLVD.
342 OSISOFT, LLC SUITE 200 SOFTWARE SERVICES AGREEMENT 12/31/2017 $0.00
' CREEKSIDE PLAZA BLDG A :
SAN LEANDRO, CA 94577
P.O, BOX 16092
FAX: +972 3 6997042; PHONE: +972 3 6997041; EMAIL:
343. PAPER AGENTS LTD. ISHAL PAAS@PANOR CO MARKETING SERVICES. AGREEMENT 6/12/2018 $0.00
TEL AVIV, 6116002 ISREAL
2701 EXECUTIVE DRIVE
FAX: 888-631-1409; EMAIL: LOGISTICS INTERMODAL TRANSPORT
344 PAPER TRANSPORT INC. NHENDRICKSON@PAPERTRANSPORT.COM AGREEMENT 3/27/2019 $47,881.86
GREEN BAY, WI 54304
19356 HARES VALLEY ROAD
345 PAUL DANFELT MAPLETON DEPOT, BA 170E2 SUPPLY AGREEMENT 3/30/2015 $0.00
451 FREIGHT STREET
346 PAUL MILLER TRUCKING EMAIL: TONYHORACEK@PAULMILLERTRUCKING.COM NOREEN ET OCKLOAD TRANSPORT 11/13/2021 $12,554.41
CAMP HILL, PA 17011
. 196 BUTLER HOLLOW ROAD
347 PAUL WEYANDT'S LOGGING EAST FREEDOM, PA Leco> SUPPLY AGREEMENT 8/13/2015 $0.00
75 ALLISON GAP ROAD
348 PEACHEYS TIMBER HARVESTING BELLEVILLE, PA tooo SUPPLY AGREEMENT 6/30/2015 $2,679.74
20500-SOUTH ALAMEDA STREET LOGISTICS TRUCKLOAD TRANSPORT ,
349 PEERLESS TRUCKING CARSON, CA908t0 AGREEMENT 8/16/2010 $0.00
PO BOX 2608
350 PENN FOREST PRODUCTS UNLIMITED, LLC BUTLER, Pal 16003 SUPPLY AGREEMENT 3/30/2015 $0.00
675 FILLMORE ROAD
FAX: 814-834-1700; EMAIL:
351 PENN PALLET, INC. JESSE. CUNNINGHAMI@PENNPALLET.COM SUPPLY AGREEMENT 8/1/2019 $139,448.94
ST. MARYS, PA 15857
352 PENNSYLVANIA ELECTRIC COMPANY PO BOX 3687 ELECTRICAL SERVICE AGREEMENT 10/9/1996 $0.00
AKRON, OH 44309 :
434 FAYETTEVILLE STREET .
353 PEOPLECLICK, INC. 9TH FLOOR ANAL tee oN SERVICES: DATA 12/31/2019 $0.00
RALEIGH, NC 27601
16101 GRANDE AVENUE WAREHOUSE SPACE AND SERVICES
354 PERFECT VISION MANUFACTURING, INC. LITTLEROCK aR goa3 none: 12/31/2017 $0.00

 

Page 22 of 34

 

 
 

Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 24 of 35

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797 BROGDON ROAD

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355 PERFORMANCE TRUCKING INC. SUWANNEE, GA 30024 AGREZMENT 2/8/2015 $0.00
155 SWARREY LANE
356 PINE HOLLOW LOGGING ALLENSVILLE, Pa 17002 SUPPLY AGREEMENT 8/4/2015 $1,990.38
655 PINNACLE ROAD
357. PINNACLE RIDGE LUMBER THOMPSONTOWN, PA 17004 SUPPLY AGREEMENT 1/31/2016 $986.10
15 27TH STREET
358 PITT OHIO EXPRESS, LLC PITTSBURGH, PA 15222 LOGISTICS PRICING AGREEMENT $5,708.91
. 1345 FRONT MOUNTAIN ROAD
359 _PLANK'S FOREST PRODUCTS BELLEVILLE, PA 47004 SUPPLY AGREEMENT 3/30/2015 $0.00
PRESTON DAIRY EQUIPMENT, INC. DBA PRESTON 444 FULLER ROAD
360 Pheer Minar one SUPPLY AGREEMENT 7/28/2016 $0.00
361 PRINCIPAL-LIFE INSURANCE COMPANY PO BOX 9394 ESOP AND RETIREMENT PLAN SERVICES $0.00
DES MOINES, IA 50306-9394 :
362 PRINCIPAL LIFE INSURANCE COMPANY (MEMBER PO BOX 9394 NONQUALIFIED EXCbos DEFERRED $0.00
COMPANY OF THE PRINCIPAL FINANCIAL GROUP) DES MOINES, IA 50306-9394 COMPENSATION Pans
4720 GLENDALE MILFORD ROAD EQUIPMENT LEASE MAINTENANCE
363 PROSOURCE CINCINNATI, OH 45242 AGREEMENT 6/28/2018 $431.16
7915 CANVASBACK CT.
364 PROXY PAPER AND COATINGS CONSULTING LLC LARSEN WIsaoue CONSULTING SERVICES AGREEMENT 6/30/2016 $2,360.00
3417 PROGRESS CIRCLE
FAX: 951-360-2455; EMAIL: LOGISTICS TRUCKLOAD TRANSPORT
365 PUBLIC SPECIAL INC. DWOODS@PUSLICSPECINE NET AGRELMERT 2/14/2019 $48.94
MIRA LOMA, CA 91752
3417 PROGRESS CIRCLE
366 PUBLIC SPECIAL INC. (ALSO IDENTIFIED AS "PUBLIC | FAX: 951-360-2455; EMAIL: LOGISTICS LESS-THAN-TRUCKLOAD 2/14/2019 $5,426.06
SPECIAL TRUCKING") DWOODS@PUBLICSPECIAL.NET TRANSPORT AGREEMENT 426,
MIRA LOMA, CA 91752
5725 GREEN VALLEY ROAD
367 QUALITY LEASING, LLC OSHKOSH, Wt sage VEHICLE LEASE 3/21/2019 $2,400.00
5725 GREEN VALLEY ROAD
368 QUALITY LEASING, LLC OSHKOSH, Wy sasoa VEHICLE LEASE 5/16/2019 $0.00
5725 GREEN VALLEY ROAD
369 QUALITY LEASING; LLC OSHKOSH, Wi saap4 VEHICLE LEASE 6/6/2019 $0.00
370 QUALITY LEASING, LLC 5725 GREEN VALLEY ROAD VEHICLE LEASE 9/8/2018 $0.00

 

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Page 23 of 34

 

 
 

 

Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 25 of 35

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5725 GREEN VALLEY ROAD

371 QUALITY LEASING; LLC OSHKOSH Wr s4o04 VEHICLE LEASE AGREEMENT $0.00
5725 GREEN VALLEY RD

372 QUALITY TRUCK CARE CENTER PO BOX 3337 SERVICE AGREEMENTS $0.00
OSHKOSH, WI 54903
2150 W. NORDALE DR.

373 QUALITY TRUCK CARE CENTER FAX: 920-735-2729; EMAIL: SEARWELL@ATHENET.NET AND TRAILER MAINTENANCE Coes 6/14/2013 $54,151.54
APPLETON, WI 54914-1883
1210 SHEPPARD AVENUE EAST

374 QUARTERBACK TRANSPORTATION INC. SUITE 114 AOR ERM ENTS CKLOAD TRANSPORT 3/30/2015 $12,641.80
TORONTO, ON M2K 163
3000 EAST ELVIRA LOGISTICS TRUCKLOAD TRANSPORT:

375 RE. BARNETT & SONS TRUCKING TUCSON, AZ 86706 AORERMERY 10/26/2009 $0.00
PO BOX 10020

376 R+L CARRIERS PORT WILLIAM, OH 45164-2000 LOGISTICS PRICING AGREEMENT $21,027.27
176 RAINSBURG MOUNTAIN ROAD

377 RAINSBURG MOUNTAIN HARDWOODS, LLC BEDFORD, PA 1s502 SUPPLY AGREEMENT 3/30/2015 $2,008.96
3249 MAIN ROAD

378 RANDY PITTMAN BEDFORD. PA 15622 SUPPLY AGREEMENT 8/4/2015 $0.00
9659 FRIENDSVILLE ROAD

379 RED ROCK ENTERPRISES, LLC FRIENDSVILLE MD 2neM SUPPLY AGREEMENT 3/30/2015 $0.00

380 RELIASTAR LIFE INSURANCE COMPANY/ VOYA P.O. BOX 20 LIFE INSURANCE POLICY 6/30/2018 $0.00
MINNEAPOLIS, MN 55440 .

381 RELIASTAR LIFE INSURANCE COMPANY/ VOYA P.O. BOX 20 LIFE INSURANCE LTD POLICY 6/30/2018 $0.00
MINNEAPOLIS, MN 55440 ;

382 RELIASTAR LIFE INSURANCE COMPANY/ VOYA P.O. BOX 20 GROUP LIFE INSURANCE POLICY 6/30/2018 $0.00
MINNEAPOLIS, MN 55440 ,
784 LOVE ROAD

383 REYNOLDS LOGGING SUMMERVILLE. PA 15864 SUPPLY AGREEMENT 10/1/2015 $0.00
4321 WEST COLLEGE AVENUE

384 RIGHT MANAGEMENT, INC. SUITE 345 TRANSITION eonncen CAREER 6/30/2020 $1,500.00
APPLETON, WI 54914
C/O SHERMAN CAPITAL HOLDINGS, LLC

385 RISE ACQUISITION, LLC sunk ot STREET PATENT LICENSING AGREEMENT $0.00
BALTIMORE, MD 21202
1401 N. RANKIN STREET

386 RISE ACQUISITION, LLC APPLEYON, Wi naa REAL ESTATE LEASES 8/2/2018 $0.00

 

Page 24 of 34

 

 
 

Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 26 of

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C/O SHERMAN CAPITAL HOLDINGS, LLC

387 RISE ACQUISITION, LLC sunk wont STREET SUPPLY AGREEMENT 8/2/2025 $406,156.23
BALTIMORE, MD 21202

ggq RISE ACQUISITION, LLC (C/O SHERMAN CAPITAL SUE Soon STREET DISCLOSURE SCHEDULES TO ASSET $0.00

HOLDINGS, LLC) BALTIMORE, MD 21202 PURCHASE AND SALE AGREEMENT
RISE ACQUISITION, LLC (C/O SHERMAN CAPITAL 111'S. CALVERT STREET ASSET PURCHASE AND SALE
389 HOLDINGS, LLC) SUITE 2700 AGREEMENT $0.00
y BALTIMORE, MD 21202

111 S. CALVERT STREET

390 HOLDINGS. LLG)” LLE (C/O SHERMAN CAPITAL SUITE 2700 SERVICE AGREEMENT 8/3/2018 $0.00

' BALTIMORE, MD 21202

4001 KANSAS AVE.

391-. RIVERSIDE TRANSPORT, INC. FAX: 913-396-6274; EMAIL: PAT.ORSCHEINGRTI1.COM paeeabel RUCKLOAD TRANSPORT. 2/7/2021 $0.00
KANSAS CITY, KS 66106
130 MONAHAN AVENUE LOGISTICS TRUCKLOAD TRANSPORT

392 ROAD SCHOLAR DUNMORE, PA 18512 AGREEMENT 4/8/2013 $0.00
1205 WEST STREET
FAX: 715-842-4907; EMAIL: LOGISTICS TRUCKLOAD TRANSPORT

393 ROADREADY TRANSFER SERVICE TIMPQ@ROADREADYiRANSEER.COM AGREEMENT 2/14/2021 $30,816.46
WAUSAU, WI 54401
1205 WEST STREET
FAX: 715-842-4907; EMAIL: LOGISTICS LESS-THAN-TRUCKLOAD

394 ROADREADY TRANSFER SERVICE TIMP@ROADREADYTRANSFER.COM TRANSPORT AGREEMENT 2/14/2021 $0.00
WAUSAU, WI 54401
2365 ZION ROAD

395 ROBBINS LUMBER-CO, LLC OLANTA, DA 6063 SUPPLY AGREEMENT 4/27/2015 $1,429.99
1916 EAST 29TH STREET
PO BOX 750

396 ROEHL TRANSPORT, INC. FAX: 715-591-1942; EMAIL: FOE E RT RUGKLOAD TRANSPORT 2/28/2019 $28,235.96
DON.MARKSTEINER@ROEHL.NET
MARSHFIELD, WI 54449
PO BOX 453945

397 ROGERS TRANSPORT INC. FAX: 404-699-7866; EMAIL: JOHN@RDSTRUCKING.COM | LOGISTICS TRUCKLOAD TRANSPORT 1/31/2019 $0.00
ATLANTA, GA 30336
170 ENGLISH LANDING

398 ROLL ON TRANSPORTATION SUITE 201 NOR EEME RT KtOAD TRANSPORT 2/28/2019 $7,132.13
PARKVILLE, MO 64152
57 BYERS ROAD

399 - RORABAUGH LUMBER COMPANY BURNSIDE, PA 15721 SUPPLY AGREEMENT 7/13/2015 $0.00
CARMELITE

400 ROSE HOLDINGS LIMITED 50 VICTORIA EMBANKMENTLONDON EC4Y ODX UK INDEMNIFICATION AGREEMENTS $0.00
1200 LAKESIDE DRIVE

401 RR DONNELLEY & SONS COMPANY FAX: 847-607-7066 SUPPLY AGREEMENT 9/30/2010 $31,453.40
BANNOCKBURN, IL 60015
620 RICHARD STREET

402 RUSSELL FRITZ LOGGING, INC. BEDORD PA 1eSo2 SUPPLY AGREEMENT 3/30/2015 $4,063.45

 

Page 25 of 34

 

 
 

Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 27 of 35

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11465 JOHNS CREEK PKWY.

403. SATA, INC. (ALSO IDENTIFIED AS "SAIA MOTOR SUITE 400 LOGISTICS LESS-THAN-TRUCKLOAD 3/27/2019 $0.00

FREIGHT") EMAIL: MSUTTLE@SAIA.COM TRANSPORT AGREEMENT .

JOHN CREEK, GA 30097
PO BOX 844048

404 SALARY.COM BOSTON, Ma 02284-4048 BENEFITS CONTRACTS 1/30/2019 $0.00
944 LANE AVENUE LOGISTICS TRUCKLOAD TRANSPORT

405 SALSON LOGISTICS NORTH JACKSONVILLE, FL 32254 AGREEMENT 12/6/2010 $0.00
36555 CORPORATE DRIVE

406 SANDLER & TRAVIS TRADE ADVISORY SERVICES, INC.} SUITE 400 DUTY DRAWBACK SERVICES 6/2/2013 $0.00
FARMINGTON HILLS, MI 48331
75 OLD MITCHELL LANE

407 SAVITTS LOGGING, LLC MILROY, PA 17063 SUPPLY AGREEMENT 12/17/2016 $0.00
3101 SOUTH PACKERLAND DRIVE

408 SCHNEIDER NATIONAL CARRIERS, INC, FAX: 920-403-9623 FEET OCKLOAD TRANSPORT 3/30/2019 $94,079.59
GREEN BAY, WI 54313
17057 ROUTE 36

409 SCOTT SALLACK, INC. PUNXSUTAWNEY, PA 15767 SUPPLY AGREEMENT 4/27/2015 $0.00
1010 CORPORATION DR.
ATTN: JOE LUEDTKE

410 SCP PO BOX 416; FAX: 920-779-5944; EMAIL: VENDOR AGREEMENTS 6/30/2019 $95,493.40
JLUEDTKE@SCPPALLETS.COM
HORTONVILLE, WI 54944
8001 N.W. 79 AVE
ATTN: RICHARD SPOHN, CONTRAC MANAGEMENT

411 SEABOARD PH: 305-863-444, FAN S08 eee seen FREIGHT 12/31/2015 $0.00
MIAMI, FL 33166
349 W. FIRST STREET

412 SECURITAS SECURITY SERVICES USA, INC. SUITE 120 SECURITY SERVICES $86,328.19
DAYTON, OH 45402
411. MARKET STREET
ATTN: JASON KING

413 SERVICE TRANSPORT EMAIL: 3KING1259@ YAHOO.COM FREIGHT 2/21/2021 $56,012.96
CHERAW, SC 29520
3431 COLONIAL DRIVE

414 SERVICEMASTER CLEANING SERVICES BY REQUEST | DincanovILie, or Nes3s CLEANING SERVICES 9/30/2018 $3,510.00
ROUTE 2000 TRANSCANADIENNE LOGISTICS TRUCKLOAD TRANSPORT

415 "SGT 2000 ST. GERMAIN, PQ JOC.1KO AGREEMENT 4/18/2011 $0.00
7204 MOUNTAIN ROAD

416 SHADE MOUNTAIN FOREST PRODUCTS MCALISTERVILLE Pr g7049 SUPPLY AGREEMENT 6/2/2015 $0.00
8856 SOMERSET PIKE

417 SHAFFER TIMBER CO., LLC BOSWELL PA Seat SUPPLY AGREEMENT 3/30/2015 $0.00
349 SIMPSON ROAD

418 SHANNON ASHBAUGH MARION CENTER, PA 15759 SUPPLY AGREEMENT 3/30/2015 $0.00

 

Page 26 of 34

 

 
Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 28 of 35

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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197 TOWER ROAD

419 SHAWN A. CLAAR LOGGING SUMMERHILL Pa 15958 SUPPLY AGREEMENT 3/31/2014 $3,112.10
WEX BANK

420 SHEETZ? PO BOX 6293 FINANCE $0.00
CAROL STREAM, IL 60197-6293
MAIL DROP A2-181 .
8303 BARFIELD ROAD

421 _ SIRIUS/1BM CREDIT LLC PHONE: 800-819-8206; FAX: 845-364-6291 EQUIPMENT LEASE 12/31/2017 $216.35
ATLANTA, GA 30325
241 WEAVER ROAD

422 SMITH LOGGING ALUM BANK PA 15621 SUPPLY AGREEMENT 4/27/2015 $641.46
153 SMITH TRANSPORT ROAD
ATTN: ROY MILLER

423 SMITH TRANSPORT JOCKEY SERVICE FAX: 814-224-6951; EMAIL: SERVICE AGREEMENTS 8/31/2020 $551.47
RMILLER@SMITHTRANSPORT.COM
ROARING SPRING, PA 16673
153 SMITH TRANSPORT ROAD
FAX: 814-224-6932; EMAIL: LOGISTICS TRUCKLOAD TRANSPORT

424 SMITH TRANSPORT, INC. MDONOVAN@SMITHTRANSPORT.COM AGREEMENT 2/11/2021 $0.00
ROARING SPRING, PA 16673

SUPPLY AND SERVICE AGREEMENT FOR
425 SOLENIS/ HERCULES/ ASHLAND WILMINGTON Re etoe PAPER PROCESS AND WATER $314,846.13
' MANAGEMENT CHEMICALS

3333 RICHMOND AVENUE

426 SOLVAY CHEMICALS, INC. FAX: 713-525-6583; EMAIL: DAVID.HENRY@SOLVAY.COM | SUPPLY AGREEMENT 11/30/2013 $54,668.58
HOUSTON, TX 77098
1 NORTH SECOND STREET

427 SONOCO PRODUCTS COMPANY PHONE: 843-383-7000; FAX: 843-383-7478 SUPPLY AGREEMENT 4/30/2016 $91,777.46
HARTSVILLE, SC 29550
3095 KETTERING BOULEVARD

428 SOUTH COMMUNITY INC. PHONE: 937-643-7068 BeSISTANGe Pease AM Senvicege 12/31/2017 $0.00
DAYTON, OH 45439
99 UNIVERSITY AVENUE SW LOGISTICS TRUCKLOAD TRANSPORT

429 SOUTHERN FREIGHT INC, ATLANTA, GA 30348 ACRERMENT 4/15/2013 $0.00
117 SOUTH DIXIE DRIVE
FAX: 937-890-9714; EMAIL: LOGISTICS TRUCKLOAD TRANSPORT

430 SPEARS TRANSFER & EXPEDITING, INC. NBARTLETTOSPEARSENOEDTTE.COM NOneeMCirr 2/21/2020 $34,643.41
VANDALIA, OH 45377
117 SOUTH DIXIE DRIVE

431 _ SPEARS TRANSFER & EXPEDITING, INC. EMAIL: SSPEARS@SPEARSEXPEDITE.COM Cee rrene: RAILER JOCKEYING 11/16/2015 $0.00
VANDALIA, OH 45377
840 W HAMILTON ST - STE 420-B

432 SPECIALIZED CAREER SEARCH LARRY @SPECIALIZEDCAREERSEARCH.COM RECRUITING SERVICES $0.00
ALLENTOWN, PA 18101
5151 PFEIFFER ROAD

433 SPHERION WORKFORCE ARCHITECTS SUITE 120 RECRUITING SERVICES $0.00
CINCINNATI, OH 45242
1116 POLK AVENUE LOGISTICS TRUCKLOAD TRANSPORT

434 STAR TRANSPORTATION, INC. NASHVILLE, TN 39210 pOkEEMeRT 2/26/2013 $0.00

 

 

 

 

 

Page 27 of 34

 

 
  

 

Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 29 of 35

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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361 EAST 6TH STREET

435 . STAUFFER MANUFACTURING COMPANY P.O. BOX 45 SUPPLY AGREEMENT 5/17/2018 $3,377.14
RED HILL, PA 18076
1076 HICKORY HILL ROAD

436 STEVEN A. BUSSARD TREE FARM SIX MILE RUN, BA Leese SUPPLY AGREEMENT 3/30/2015 $633.67
1901 ACADEMY STREET LOGISTICS TRUCKLOAD TRANSPORT

437. STOUGHTON TRUCKING INC. STOUGHTON. Wi S3589 AGREEMENT 12/5/2014 $0.00
2642 SAWMILL ROAD

438 SUPERIOR LUMBER, INC. PO BOX 248 SUPPLY AGREEMENT 3/30/2015 $7,255.64
TYRONE, PA 16686
2200 S. 75TH AVENUE LOGISTICS TRUCKLOAD TRANSPORT

439: SWIFT TRANSPORTATION SERVICES, LLC PHOENIX, Az 65043 AORELMERT 6/5/2019 $55,440.36
PO BOX 645

440 7.B. WILDERNESS CONSULTANTS HOLLIDAYSBURG, PA 16649 SUPPLY AGREEMENT 3/30/2015 $0.00
GENPL-75

441 TALEN ENERGY MARKETING, LLC Soe MR TON STREET ELECTRICITY SUPPLY AGREEMENT 12/31/2018 $550,787.20
ALLENTOWN, PA 18101
5975 SOUTH HOWELL AVE. LOGISTICS TRUCKLOAD TRANSPORT

442 TAX AIRFREIGHT, INC. MILWAUKEE. Wi $3207 oo11 ACRELMERT 10/19/2016 $12,384.42
425-B OAK POINT HWY. LOGISTICS TRUCKLOAD TRANSPORT

443 TEETOP TRANSPORTATION INC. WINNIPEG. Ma Roh no NOREEMET 1/9/2009 $0.00
2538 ELK LICK ROAD

444 TERRY L. BARKMAN EVERETE. PA Soa SUPPLY AGREEMENT 3/30/2015 $0.00
6995 UNION PARK CENTER

445. TFG-OHIO, L.P. SUITE 400 EQUIPMENT LEASE AGREEMENT 11/11/2018 $0.00
COTTONWOOD HEIGHTS, UT 84047
N25 W23050 PAUL ROAD SERVICES AGREEMENT FOR COBRA

446 THE BENEFIT SERVICES GROUP PEWAUKEE, Wi $3075 1078 crnvicee 12/31/2014 $0.00
N25 W23050 PAUL ROAD SERVICES AGREEMENT FOR COBRA

447 THE BENEFIT SERVICES GROUP PEWAUKER. Wr S307o 7a ctnvrege 12/31/2005 $0.00
7 EASTON OVAL
EA4E63

448 THE HUNTINGTON NATIONAL BANK PHONE: 614-331-8698; FAX: 614-331-5862 LOAN AND SECURITY AGREEMENT $0.00
COLUMBUS, OH 43219
23811 NETWORK PL SUBBSCRIPTION CONTRACT FOR

449 THE INFOSOFT GROUP LLC CHICAGO, IL 60673-1238 ONLINE JOB POSTING WEBSITE 6/26/2018 $0.00
3200 WEST NC HIGHWAY 268

450 NOLO eL we GROUP, INC. C/O INTERFLEX FAX: 336-921-2493 STOCK PURCHASE AGREEMENT $0.00

INC. WILKESBORO, NC 28697

 

 

Page 28 of 34

 
 

Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 30 of 35

COUNTERPARTY NAME

 

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300 ATLANTIC STREET
SUITE 400 ADMINSTRATIVE SERVICES AGREEMENT
451 THE NORTHERN TRUST COMPANY PHONE! 203-363-7400; FAX: 203-356-9341 FOR PENSION PLAN $0.00
STAMFORD, CT 06901
50 SOUTH LASALLE STREET SERVICES AGREEMENT FOR MAKING
452 THE NORTHERN TRUST COMPANY CHICAGO, IL 60675 PAYMENTS UNDER RETIREMENT PLANS $0.00
300 ATLANTIC STREET
SUITE 400 TRUST AGREEMENT FOR PENSION
453. THE NORTHERN TRUST COMPANY PHONE: 203-363-7400; FAX: 203-356-9341 FUNDS $0.00
STAMFORD, CT 06901
PO BOX 178
454 THE WIMBERLY GROUP WEST END. NC 27376 RECRUITING SERVICES $0.00
2815 LORNE AVENUE LOGISTICS TRUCKLOAD TRANSPORT.
455. THE YANKEE GROUP OF COMPANIES SASKATOON, oC 873 OSS ACRERMERY 3/31/2007 $0:00
820 ASSOCIATION DRIVE SERVICES AGREEMENT FOR EAP
456 THEDACARE, INC. D/B/A THEDACARE AT WORK APPLETON, WI 54914-1495 ccnvicne 12/31/2016 $0.00
ST. CLEMENT HOUSE
NEW APPLETON LLC AND PAPERWEIGHT ALENCON LINK
457 DEVELODMENT FAX: 011-44 1956-796075 INDEMNIFICATION AGREEMENTS $0.00
BASINGSTOKE, HAMPSHIRE RG21
224 BREONS LANE
458 THOMAS TIMBERLAND ENTERPRISES, INC. PLEASANT GAP, Pa 16623 SUPPLY AGREEMENT 1/3/2017 $3,176.88
360 PEACEFUL ENDINGS LANE
459 TIM IRACA IRVONA PA 16606 SUPPLY AGREEMENT 3/30/2015 $0.00
TIME WARNER CABLE INC. (AS IDENTIFIED IN THE
CONTRACT; THE TERMS AND CONDITIONS ONLINE 12405 POWERSCOURT DRIVE
460 IDENTIFY THE COUNTERPARTY AS "CHARTER ST. LOUIS, MO 63131 TELECOM SERVICES AGREEMENT 9/15/2014 $831.75
COMMUNICATIONS OPERATING, LLC"
4-400 ZENWAY BOULEVARD
461 TITANIUM TRANSPORTATION GROUP FAX: 905-266-3020; EMAIL: MARILYN.DANIEL@TTGI.COM Nokon SPACE AND SERVICES 11/30/2018 $0.00
WOODBRIDGE, ON L4H 057
4-400 ZENWAY BOULEVARD
462 TITANIUM TRUCKING SERVICES INC. FAX: 905-266-3020; EMAIL: ROB.THOMAS@TTGI.COM FOR EEM ET RO CKLOAD TRANSPORT 3/6/2021 $0.00
WOODBRIDGE, ON L4H 0S7
309 N WATERS ST #430
463 TITUS TALENT STRATEGIES MILWAUKEE, wi aspen RECRUITING SERVICES $0.00
2936 ELK LICK ROAD
464 TOM BARKMAN EVERETT, PA tgs SUPPLY AGREEMENT 3/30/2015 $16,180.79
970 FRONTAGE ROAD LOGISTICS TRUCKLOAD TRANSPORT
465 TOM JOY'& SON TRUCKING LLC PESHTIGO, Wises ROREL MER 2/8/2010 $0.00
466 TRANS AM TRUCKING, INC. 15910 SOUTH 169 HWY LOGISTICS INTERMODAL TRANSPORT 3/6/2021 $0.00

 

OLATHE, KS 66062

 

AGREEMENT

 

 

 

Page 29 of 34

 

 
 

 

Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 31 of 35

COUNTERPARTY NAME

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1715 YANKEE DOODLE ROAD

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LOGISTICS TRUCKLOAD TRANSPORT

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467 TRANSPORT CORPORATION OF AMERICA, INC. EAGAN, MN SSu21 NenEEME nT 4/28/2016 $0.00
1050 DE L'INDUSTRIE LOGISTICS LESS-THAN-TRUCKLOAD
468 TRANSPORT W, CYR (1984) INC. ST JEROME, PO yy apo TRANSPORT AGREE NT 5/2/2009 $0.00
1608 WALNUT ST - STE 1602 SAFETY SOFTWARE SUBSCRIPTION AND
469 TRANSPORTATION RESOURCE ASSOCIATES, INC. PHILADELPHIA, PA 19103 SERVICES AGREEMENT 2/28/2015 $3,628:87
2001 SPRING ROAD
SUITE 400 LOGISTICS TRUCKLOAD TRANSPORT
470 TRANSPORTATION SERVICE CO. PHONES 630-472-5900 heneEMcen 7/17/2013 $0.00
OAK BROOK, IL 60523
2595 INKSTER BOULEVARD
471 TRANSX LTD. FAX: 204-633-8034; EMAIL: JEFF_GLOVER@TRANSX.COM NOnREMGRT RUCKLOAD TRANSPORT 2/21/2019 $33,032.42
WINNIPEG, MB R3C 2E6
143 RONALD STREET
472 ‘TREE EXPERT TREE SERVICE JOHNSTOWN, PA 15902 SUPPLY AGREEMENT 7/30/2017 $1,955.55
1206 FULLERTON ROAD
473. TRI-COUNTY LOGGING ENTERPRISES, LLC KNOX. PA 1oz30 SUPPLY AGREEMENT 3/13/2016 $0.00
100 PINE STREET TO BE
P.O, BOX 1166 SERVICES AGREEMENT FOR ENERGY RESOLVED
474 TRECOUNTY RURAL ELECTRIC COOPERATIVE, INC. | pi iowe. 717-237-5368, EMAIL: PPOLACEK@MWN.COM LOAD ASSESSMENT AND CURTAILMENT PRIOR TO
HARRISBURG, PA 17108-1166 CLOSING
TRINSEO LLC (FORMERLY KNOWN AS STYRON, 233 E LARKIN St
475 LLC)(AS AMENDED PER #437: ORIGINAL CONTRACT = SUPPLY AGREEMENT 3/31/2013 $266,521.45
fi . MIDLAND, MI 48640
STYRON, LLC")
2890 SOUTH GOLIAD LOGISTICS TRUCKLOAD TRANSPORT
476 TS ACQUISITION INC. DBA TEXAS STAR EXPRESS ROCKWALL Tx 75032 heneEncen 12/17/2012 $0.00
2890 SOUTH GOLIAD LOGISTICS TRANSPORTATION
477 TS ACQUISITION INC. DBA TEXAS STAR EXPRESS ROCKWALL The rs032 CONTRACT (APPENDICES) $0.00
ATTN: PRESIDENT
478 TURKON MAIN FLOOR FREIGHT 1/31/2015 $0.00
SECAUCUS, NJ 07094
100 W. LAWRENCE STREET
ATTN: MARK T. MORGAN
479 TWIN EAGLE DH: 920-831-2526; Fas 920-831-2550 VENDOR AGREEMENTS 12/31/2018 $0.00
APPLETON, WI 54911
8847 SAM HOUSTON PKWY. N.
PHONE: 713-341-7300; FAX: 713-341-7303; EMAIL:
480 TWIN EAGLE RESOURCE MANAGEMENT, LLC CONTRACTSO TERS con NATURAL GAS SUPPLY AGREEMENT $159,346.38
HOUSTON, TX 77040
U.S. BANK EQUIPMENT FINANCE, A DIVISION OF U.S. | PO BOX 790448
481 BANK NATIONAL ASSOCIATION ST LOUIS, MO 63179-0448 EQUIPMENT LEASE 4/14/2021 $453.94
1555 NORTH RIVERCENTER DRIVE
SUITE 203
482 U.S. BANK NATIONAL ASSOCIATION SECOND LIEN INDENTURE $0.00

 

FAX: 414-905-5049
MILWAUKEE, WI 53212

 

 

 

 

Page 30 of 34

 

 
  

 

Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 32 of 35

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1555 NORTH RIVERCENTER DRIVE
SUITE:203
483 U.S. BANK NATIONAL ASSOCIATION PHONE: 414-905-5635; FAX: 414-905-5049; EMAIL: INTERCREDITOR AGREEMENT $0.00
STEVEN.POSTO@USBANK.COM
MILWAUKEE, WI 53212
1555 NORTH RIVERCENTER DRIVE
SUITE 203 TRIPARTITE LIEN RELEASE AND
484 U.S. BANK NATIONAL ASSOCIATION PHONE: 414-905-5635; FAX: 414-905-5049; EMAIL: ASSIGNMENT OF PROCEEDS $0.00
STEVEN.POSTO@USBANK.COM AGREEMENT
MILWAUKEE, WI 53212
1555 NORTH RIVERCENTER DRIVE
485 U.S. BANK NATIONAL ASSOCIATION SUITE 203 SECOND LIEN COLLATERAL AGREEMENT $0.00
MILWAUKEE, WI 53212
CM 9690
486 U.S. BANK NATIONAL ASSOCIATION PO BOX 9690 FINANCE $0.00
ST PAUL, MN 55170-9690
4080 JENKINS ROAD LOGISTICS TRUCKLOAD TRANSPORT
487 U.S. XPRESS, INC. CHATTANOOGA, TN 37421 AGREEMENT 4/19/2007 $0.00
P.O, BOX 12677
488 UGI CENTRAL PENN GAS, INC. READING, PA 19612-2677 NATURAL GAS DELIVERY SERVICES 8/29/2016 $0.00
UNIFIRST CORPORATION AND/OR UNIFIRST HOLINGS,| PO BOX 761
489 |p. D.B.A UNIFIRST AND/OR UNIFIRST CANADA LTD. | EBENSBURG, PA 15931 UNIFORM RENTAL AGREEMENT 8/24/2020 $889.50
EMPLOYEE MEDICAL BENEFITS
490 UNITED HEALTHCARE INSURANCE COMPANY 450 COLUMBUS BOULEVARD ADMINISTRATIVE SERVICES 6/30/2008 $0.00
HARTFORD, CT 06115-0450
AGREEMENT
P O BOX 371232
491 UNITED PARCEL SERVICE INC. PITTSBURGH, PA 15250-7232 LOGISTICS CARRIER AGREEMENT 10/25/2012 $0.00
AMOUNTS DUE TO
UNITED STEELWORKERS BE PAID IN THE
492 UNITED STEEL WORKERS PO BOX 644485 UNION CONTRACTS ORDINARY
PITTSBURG, PA 15264-4485 COURSE OF
mS
UNITED STEEL, PAPER, AND FORESTRY, RUBBER, AMOUNTS
MANUFACTURING, ENERGY, ALLIED INDUSTRIAL AND | UNITED STEELWORKERS BE PAID IN THE
493 PO BOX 644485 UNION CONTRACTS 2/1/2018 ORDINARY
SERVICE WORKERS INTERNATIONAL UNION AFL-CIO- COURSE OF
CLC, LOCAL 10-422 PITTSBURG, PA 15264-4485 UR
if BUSINESS
UNITED STEEL, PAPER, AND FORESTRY, RUBBER, AMOUNTS DUE TO
UNITED STEELWORKERS BE PAID IN THE
494 MANUFACTURING, ENERGY, ALLIED INDUSTRIAL AND | 54 BOX 644485 UNION CONTRACTS 8/31/2017 ORDINARY
SERVICE WORKERS INTERNATIONAL UNION, AFL-CIO- PITTSBURG, PA 15264-4485 COURSE OF
CLC, LOCAL 2-0469 ’ BUSINESS
UNITED STEEL, PAPER, AND FORESTRY, RUBBER, AMOUNTS DUE TO
UNITED STEELWORKERS BE PAID IN THE
495 SER ce Wee er ATIONAL UNTON Locaye PO BOX 644485 UNION CONTRACTS 3/31/2018 ORDINARY
366 " PITTSBURG, PA 15264-4485 COURSE OF|
BUSINESS
P.O. BOX 430
496 UNIVAR USA INC. FAX: 814-944-7124 SUPPLY AGREEMENT 3/31/2006 $0.00
ALTOONA, PA 16603
3655 SOUTH-MAIZE ROAD
497 US ROAD FREIGHT EXPRESS INC. WICHITA, KS 67215 LOGISTICS PRICING AGREEMENT $0.00
700 SOUTH WAVERLY ROAD LOGISTICS LESS-THAN-TRUCKLOAD
498 USF HOLLAND INC. HOLLAND, MI 49423 TRANSPORT AGREEMENT $16,351.00

 

 

 

Page 31 of 34

 
 

Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 33 of 35

COUNTERPARTY NAME

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CONTRACT DESCRIPTION

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7720 SW MOHAWK STREET LOGISTICS LESS-THAN-TRUCKLOAD

499 USF REDDAWAY INC. BLDG H TRANSPORT AGREE MEAT $32,873.87
TUALATIN, OR 97062
405 LEXINGTON AVE.

500 USPACK LOGISTICS LLC SUITE 4901 COURIER SERVICES 8/27/2014 $1,610.00
NEW YORK, NY 10174
2001 HYLAND AVENUE

501 -V&S MIDWEST-CARRIERS CORP. PO BOX 107 WAREHOUSE SERVICES 1/31/2021 $0.00

. FAX: 920-766-1999; EMAIL: ERIC@VSMIDWEST.COM ‘

KAUKAUNA, WI 54130
2001 HYLAND AVENUE LOGISTICS TRUCKLOAD TRANSPORT

502 _V/S MIDWEST CARRIER CORP. KAUKAUNA, WI bal30 neReEMeRT 12/12/2008 $0.00
6003 STATE ROAD 76 LOGISTICS TRUCKLOAD TRANSPORT

503 VALLEY EXPRESS OSHKOSH, Wiea90e AGRESMENT 4/16/2007 $0.00
2693 STATE ROUTE 655

504 VALLEY HARVESTING, LLC BELLEVILLE, PA 17004 SUPPLY AGREEMENT 6/24/2015 $0.00
1431 N. GETTYSBURG AVENUE LOGISTICS TRUCKLOAD TRANSPORT

505. VANCE ROAD ENTERPRISES INC. DAYTON. OF 45417 AGREEMENT 2/20/2014 $0.00
PO BOX 6262 ACKNOWLEDGEMENT OF APPOINTMENT

506 VECTREN ENERGY DELIVERY OF OHIO, INC. OF AGENT FOR NATURAL GAS POOLING $14,833.40
INDIANAPOLIS, IN 46206-6262

ARRANGEMENT

2830 CLEVELAND AVENUE

507 VERIHA TRUCKING INC, FAX: 715-330-5953; EMAIL: MCHENEY@VERIHA.COM AGREE MET CKLOAD TRANSPORT 2/28/2019 $0.00
MARINETTE, WI 54143
124 WATER STREET

508 VIRGILR. BYLER ALLENSVILLE, PA 17002 SUPPLY AGREEMENT 2/8/2016 $0.00
PO BOX 633519

509 VITRAN EXPRESS CINCINNATI, OF 45263-3519 LOGISTICS PRICING AGREEMENT $0.00
711 BUSINESS PARKWAY LOGISTICS TRUCKLOAD TRANSPORT

510 VORK MOTOR TRANSPORT CARLISLE. OM acoes heneENGer 12/27/2014 $0.00
1280 W. 64TH AVE. LOGISTICS TRUCKLOAD TRANSPORT

511 VOYAGER EXPRESS INC. DENVER, co Boba heaeencen 11/20/2012 $0.00
5850 CORRIDOR PARKWAY

512 VRTX TECHNOLOGIES, LLC SUITE 100 FO CURT EASE AND SERVICES 1/5/2019 $0.00
SCHERTZ, TX 78154
148 TIPPLE LANE

513. WALKER LUMBER COMPANY, INC WOODLAND, Pa 16881 SUPPLY AGREEMENT 8/26/2016 $634.64
1426 WARD TRUCKING DRIVE
FAX: 814-944-5470; EMAIL: LOGISTICS LESS-THAN-TRUCKLOAD

514 WARD TRUCKING, LLC JCCOLAPIETRO@WARDTRUCKING.COM TRANSPORT AGREEMENT 2/28/2021 $15,057.19
ALTOONA, PA 16602

 

Page 32 of 34

 

 
  

Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 34 of 35

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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ree heat ena | COUNTERPARTY ADDRESS CONTRACT DESCRIPTION npeee AMOUNT
1160 N, MAYFLOWER DRIVE
515° WAREHOUSE PROPERTIES, INC. P.O. BOX'7110 RD APPLETON) (FOR KENSINGTON 12/31/2020 $0.00
APPLETON, WI 54912-7067
516 WAREHOUSE SPECIALISTS, LLC, AS SUCCESSOR IN | 2525 N. CASALOMA DRIVE REAL ESTATE LEASE (FOR EWR 1/31/2021 $19,414.83
INTEREST TO WAREHOUSE SPECIALISTS, INC. APPLETON, WI 54913-2397 APPLETON)
PO BOX 0
517 WATT LOGGING BROCKWAY, PA 15624 SUPPLY AGREEMENT 7/24/2017 $0.00
185 PLEASANT HOLLOW
518 WEAVER LUMBER ALUM BANC PA oot SUPPLY AGREEMENT 3/30/2015 $3,812.53
VENDOR FIN SERV
519 WELLS FARGO PO BOX 70239 EQUIPMENT LEASE 6/18/2020 $1/351.00
PHILADELPHIA, PA 19178-0239
871 ALVERDA ROAD
520 WENTURINE BROS. LUMBER, INC. NICKTOWN, PA 13762 VENDOR AGREEMENTS $0.00
704 S. READING AVE, LOGISTICS TRUCKLOAD TRANSPORT
521 WEST MOTOR FREIGHT BOYERTOWN, PA 19812 AOREEMenT 8/18/2012 $0.00
PO DRAWER 316
522 WILLIAM RICHTER AND SON LUMBER, INC. MEYERSDALE, PA 15552 VENDOR AGREEMENTS $0.00
3245 EAST BACK MOUNTAIN ROAD
523 WILLIAMS LUMBER COMPANY LLC BELLEVILLE, PA T7008 SUPPLY AGREEMENT 3/13/2016 $0.00
144 SUNNYSIDE LANE
524 WILMER ZOOK BELLEVILLE, PA 1704 SUPPLY AGREEMENT 9/3/2015 $0.00
1008 REDONDA STREET LOGISTICS TRUCKLOAD TRANSPORT
525 WIN-MAR FREIGHT MANAGEMENT INC. WINNIPEG MB Roc 322 ACRERMERT 2/14/2009 $0.00
526 WISCONSIN ELECTRIC - GAS OPERATIONS PO BOX 1923 ELECTRIC SERVICE AGREEMENT 1/25/2007 0.00
MILWAUKEE, WI 53201-1923 $0.
WISCONSIN ELECTRIC POWER COMPANY D/B/A WE | PO BOX 1923
527 ecene MILWAUKEE, WI 53301-1993 ELECTRIC SERVICE AGREEMENT 12/14/2010 $391,274.45
WISCONSIN ELECTRIC POWER COMPANY D/B/A WE | PO BOX 1923
52a econ MILWAUKEE, WI 53201-1923 ELECTRIC SERVICE AGREEMENT 3/31/2016 $0.00
WISCONSIN ELECTRIC POWER COMPANY D/B/A WE — | PO BOX 1923
529 econ MILWAUKEE, WI 53201-1923 ELECTRIC SERVICE AGREEMENT $0.00
634 MUTTART RD
530 WISCONSIN PAPER GROUP NEENAH, Wi 54986 LOGISTICS PRICING AGREEMENT $0.00

 

 

Page 33 of 34

 
 

 

Case 17-12082-MFW Doc 751-2 Filed 05/14/18 Page 35 of 35

COUNTERPARTY NAME

COUNTERPARTY ADDRESS

CONTRACT DESCRIPTION

EXPIRATION

DATE

CURE
AMOUNT

 

 

 

 

 

 

 

 

 

 

 

 

 

3030 PENN AVE - STE 200 SOFTWARE LICENSE AND SUPPORT

531 WOMBAT SECURITY TECHNOLOGIES INC PITTSBURGH, PA 15201 AGREEMENT 4/30/2016 $0.00
1022 DELAUM ROAD

532 WOODBED CORP PO BOX 497 SUPPLY AGREEMENT 11/24/2016 $0.00
ST. MARYS, PA 15857
PO BOX 396106

533 | WORKDAY SAN FRANCISCO, CA 94139-6106 BENEFITS CONTRACTS 4/19/2019 $59,645.00
6805 PERIMETER DRIVE

534 XPO LOGISTICS, LLC DUBLIN, OH 43016 FREIGHT 3/8/2021 $213,485.30
PO BOX 219562

535° XTRA LEASE KANSAS CITY, MO 64121-9562 EQUIPMENT LEASE AGREEMENT $224.52
800 YUPO COURT

536 YUPO CORPORATION AMERICA, INC. CHESAPEAKE, VA 23320 CONSIGNMENT AGREEMENT 12/31/2013 $477,788.42
1900 CHARLES BRYAN ROAD

537 YUSEN LOGISTICS (AMERICAS) INC. SUITE 250 LOGISTICS PRICING AGREEMENT 2/6/2014 $53,917.56
CORDOVA, TN 38016
6260 EAST BACK MOUNTAIN ROAD

538 Z.B. FOREST PRODUCTS, LLC REEDSVILLE, PA 17084 SUPPLY AGREEMENT 3/30/2015 $1,907.06
1138 N. MILK & WATER ROAD

539 ZANE WEICHT EVERETT, PA 15537 SUPPLY AGREEMENT 3/30/2015 $9,797.56

 

Page 34 of 34

 

 
